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manufacture or production of missiles, or nuclear, chemical or biological weapons. Airbnb does
not permit Listings associated with certain countries due to U.S. embargo restrictions.

Accessing and Downloading the Application from iTunes

The following applies to any Application accessed through or downloaded from the Apple App
Store ("App Store Sourced Application"):

¢ You acknowledge and agree that (i) these Terms are concluded between you and Airbnb
only, and not Apple, and (ii) Airbnb, not Apple, is solely responsible for the App Store
Sourced Application and content thereof. Your use of the App Store Sourced Application
must comply with the App Store Terms of Services.

* You acknowledge that Apple has no obligation whatsoever to furnish any maintenance
and support services with respect to the App Store Sourced Application.

e In the event of any failure of the App Store Sourced Application to conform to any
applicable warranty, you may notify Apple, and Apple will refund the purchase price for
the App Store Sourced Application to you and to the maximum extent permitted by
applicable law, Apple will have no other warranty obligation whatsoever with respect to
the App Store Sourced Application. As between Airbnb and Apple, any other claims,
losses, liabilities, damages, costs or expenses attributable to any failure to conform to any
warranty will be the sole responsibility of Airbnb.

¢ You and Airbnb acknowledge that, as between Airbnb and Apple, Apple is not
responsible for addressing any claims you have or any claims of any third party relating
to the App Store Sourced Application or your possession and use of the App Store
Sourced Application, including, but not limited to: (i) product liability claims; (ii) any
claim that the App Store Sourced Application fails to conform to any applicable legal or
regulatory requirement; and (iii) claims arising under consumer protection or similar
legislation.

¢ You and Airbnb acknowledge that, in the event of any third-party claim that the App
Store Sourced Application or your possession and use of that App Store Sourced
Application infringes that third party's intellectual property rights, as between Airbnb and
Apple, Airbnb, not Apple, will be solely responsible for the investigation, defense,

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settlement and discharge of any such intellectual property infringement claim to the
extent required by these Terms.

¢ You and Airbnb acknowledge and agree that Apple, and Apple's subsidiaries, are third-
party beneficiaries of these Terms as related to your license of the App Store Sourced
Application, and that, upon your acceptance of the terms and conditions of these Terms,
Apple will have the right (and will be deemed to have accepted the right) to enforce these
Terms as related to your license of the App Store Sourced Application against you as a
third-party beneficiary thereof.

¢ Without limiting any other terms of these Terms, you must comply with all applicable
third-party terms of agreement when using the App Store Sourced Application.

Reporting Misconduct

If you stay with or host anyone who you feel is acting or has acted inappropriately, including but
not limited to anyone who (1) engages in offensive, violent or sexually inappropriate behavior,
(ii) you suspect of stealing from you, or (iii) engages in any other disturbing conduct, you should
immediately report such person to the appropriate authorities and then to Airbnb by contacting us
with your police station and report number; provided that your report will not obligate us to take
any action beyond that required by law (if any) or cause us to incur any liability to you.

Entire Agreement

These Terms constitute the entire and exclusive understanding and agreement between Airbnb
and you regarding the Site, Application, Services, Collective Content, and any bookings or
Listings of Accommodations made via the Site, Application and Services, and these Terms
supersede and replace any and all prior oral or written understandings or agreements between
Airbnb and you regarding bookings or listings of Accommodations, the Site, Application,
Services, and Collective Content.

Assignment

You may not assign or transfer these Terms, by operation of law or otherwise, without Airbnb's
prior written consent. Any attempt by you to assign or transfer these Terms, without such
consent, will be null and of no effect. Airbnb may assign or transfer these Terms, at its sole
discretion, without restriction. Subject to the foregoing, these Terms will bind and inure to the

benefit of the parties, their successors and permitted assigns.

Notices

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Any notices or other communications permitted or required hereunder, including those regarding
modifications to these Terms, will be in writing and given by Airbnb (1) via email (in each case
to the address that you provide) or (ii) by posting to the Site or via the Application. For notices
made by e-mail, the date of receipt will be deemed the date on which such notice is transmitted.

Controlling Law and Jurisdiction

These Terms and your use of the Services will be interpreted in accordance with the laws of the
State of California and the United States of America, without regard to its conflict-of-law
provisions. You and we agree to submit to the personal jurisdiction of a state court located in San
Francisco County, San Francisco, California or a United States District Court, Northern District
of California located in San Francisco, California for any actions for which the parties retain the
right to seek injunctive or other equitable relief in a court of competent jurisdiction to prevent
the actual or threatened infringement, misappropriation or violation of a party's copyrights,
trademarks, trade secrets, patents, or other intellectual property rights, as set forth in the
Dispute Resolution provision below.

Dispute Resolution

You and Airbnb agree that any dispute, claim or controversy arising out of or relating to these
Terms or the breach, termination, enforcement, interpretation or validity thereof, or to the use of
the Services or use of the Site or Application (collectively, "Disputes") will be settled by binding
arbitration, except that each party retains the right to seek injunctive or other equitable relief in a
court of competent jurisdiction to prevent the actual or threatened infringement, misappropriation
or violation of a party's copyrights, trademarks, trade secrets, patents, or other intellectual
property rights. You acknowledge and agree that you and Airbnb are each waiving the right to a
trial by jury or to participate as a plaintiff or class member in any purported class action or
representative proceeding. Further, unless both you and Airbnb otherwise agree in writing, the
arbitrator may not consolidate more than one person's claims, and may not otherwise preside
over any form of any class or representative proceeding. If this specific paragraph is held
unenforceable, then the entirety of this "Dispute Resolution" section will be deemed void. Except
as provided in the preceding sentence, this "Dispute Resolution" section will survive any
termination of these Terms.

Arbitration Rules and Governing Law. The arbitration will be administered by the American
Arbitration Association ("AAA") in accordance with the Commercial Arbitration Rules and the
Supplementary Procedures for Consumer Related Disputes (the "AAA Rules") then in effect,
except as modified by this "Dispute Resolution" section. (The AAA Rules are available

at www.adr.org/arb_med or by calling the AAA at 1-800-778-7879.) The Federal Arbitration Act
will govern the interpretation and enforcement of this section.

 

Arbitration Process. A party who desires to initiate arbitration must provide the other party with
a written Demand for Arbitration as specified in the AAA Rules. (The AAA provides a form
Demand for Arbitration and a separate form for California residents) The arbitrator will be either
a retired judge or an attorney licensed to practice law in the state of California and will be
selected by the parties from the AAA's roster of consumer dispute arbitrators. If the parties are

 

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unable to agree upon an arbitrator within seven (7) days of delivery of the Demand for
Arbitration, then the AAA will appoint the arbitrator in accordance with the AAA Rules.

 

Arbitration Location and Procedure. Unless you and Airbnb otherwise agree, the arbitration will
be conducted in the county where you reside. If your claim does not exceed $10,000, then the
arbitration will be conducted solely on the basis of documents you and Airbnb submit to the
arbitrator, unless you request a hearing or the arbitrator determines that a hearing is necessary. If
your claim exceeds $10,000, your right to a hearing will be determined by the AAA Rules.
Subject to the AAA Rules, the arbitrator will have the discretion to direct a reasonable exchange
of information by the parties, consistent with the expedited nature of the arbitration.

Arbitrator's Decision. The arbitrator will render an award within the time frame specified in the
AAA Rules. The arbitrator's decision will include the essential findings and conclusions upon
which the arbitrator based the award. Judgment on the arbitration award may be entered in any
court having jurisdiction thereof. The arbitrator's award damages must be consistent with the
terms of the "Limitation of Liability" section above as to the types and the amounts of damages
for which a party may be held liable. The arbitrator may award declaratory or injunctive relief
only in favor of the claimant and only to the extent necessary to provide relief warranted by the
claimant's individual claim. If you prevail in arbitration you will be entitled to an award of
attorneys' fees and expenses, to the extent provided under applicable law. Airbnb will not seek,
and hereby waives all rights it may have under applicable law to recover, attorneys' fees and
expenses if it prevails in arbitration.

Fees. Your responsibility to pay any AAA filing, administrative and arbitrator fees will be solely
as set forth in the AAA Rules. However, if your claim for damages does not exceed $75,000,
Airbnb will pay all such fees unless the arbitrator finds that either the substance of your claim or
the relief sought in your Demand for Arbitration was frivolous or was brought for an improper
purpose (as measured by the standards set forth in Federal Rule of Civil Procedure 11(b)).

Changes. Notwithstanding the provisions of the "Modification" section above, if Airbnb changes
this "Dispute Resolution" section after the date you first accepted these Terms (or accepted any
subsequent changes to these Terms), you may reject any such change by sending us written
notice (including by email) within 30 days of the date such change became effective, as indicated
in the "Last Updated Date" above or in the date of Airbnb's email to you notifying you of such
change. By rejecting any change, you are agreeing that you will arbitrate any Dispute between
you and Airbnb in accordance with the provisions of this "Dispute Resolution" section as of the
date you first accepted these Terms (or accepted any subsequent changes to these Terms).

General

The failure of Airbnb to enforce any right or provision of these Terms will not constitute a
waiver of future enforcement of that right or provision. The waiver of any such right or provision
will be effective only if in writing and signed by a duly authorized representative of Airbnb.
Except as expressly set forth in these Terms, the exercise by either party of any of its remedies
under these Terms will be without prejudice to its other remedies under these Terms or
otherwise. If for any reason an arbitrator or a court of competent jurisdiction finds any provision

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of these Terms invalid or unenforceable, that provision will be enforced to the maximum extent
permissible and the other provisions of these Terms will remain in full force and effect.

Third party beneficiary

These Terms do not and are not intended to confer any rights or remedies upon any person other
than the parties. Notwithstanding the foregoing, the parties agree that the payment card networks
are third party beneficiaries of these Terms for purposes of enforcing provisions related to
payments, but that their consent or agreement is not necessary for any changes or modifications
to these Terms.

Additional Clauses for Users Contracting with Airbnb Ireland
The following paragraphs will apply if you are contracting with Airbnb Ireland.

The final sentence in the Suspension, Termination and Airbnb Account Cancellation clause
shall be removed and replaced with the following:

"Please note that if your Airbnb Account is cancelled, we do not have an obligation to return to
you any Content you have posted to the Site, Application and Services, including, but not limited
to, any reviews or Feedback."

The Controlling Law and Jurisdiction clause shall be removed and replaced with the
following: "Controlling Law and Jurisdiction These Terms will be interpreted in accordance
with Irish law. You and we agree to submit to the non-exclusive jurisdiction of the Irish courts
for resolving any dispute between the parties. If Airbnb wishes to enforce any of its rights
against you, we may elect to do so in the Irish courts or in the courts of the jurisdiction in which
you are resident."

The Dispute Resolution clause shall be removed and is not applicable.

The Export Control and Restricted Countries clause shall be amended by the

following: "Export Control and Restricted Countries In addition to complying with the main
Export Control and Restricted Countries clause, you must also comply with any relevant export
control laws in your local jurisdiction."

The Bookings and Financial Terms for Guests clause shall be amended by the following:
"Bookings and Financial Terms for Guests In addition to complying with the main Bookings
and Financial Terms for Guests clause, you also acknowledge that if your Airbnb account is
located in Brazil and you are paying by credit card, you may pay for your booking in multiple
installments as long as your credit card supports installments and is issued in Brazil. The
number of installments may vary, but will be presented to you before you complete your booking
transaction. You also acknowledge that the Total Fees may be increased in case you choose to
pay for your booking using credit card installments."

Contacting Airbnb

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If you have any questions about these Terms or any App Store Sourced Application, please
contact Airbnb.

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EXHIBIT J

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Terms of Service

IF YOU RESIDE IN THE UNITED STATES, PLEASE NOTE: SECTION 34 OF THESE TERMS OF SERVICE CONTAII
AN ARBITRATION CLAUSE AND CLASS ACTION WAIVER. IT AFFECTS HOW DISPUTES WITH AIRBNB ARE
RESOLVED. BY ACCEPTING THESE TERMS OF SERVICE, YOU AGREE TO BE BOUND BY THIS ARBITRATION
PROVISION. PLEASE READ IT CAREFULLY.

PLEASE READ THESE TERMS OF SERVICE CAREFULLY AS THEY CONTAIN IMPORTANT INFORMATION REGARDI!
YOUR LEGAL RIGHTS, REMEDIES AND OBLIGATIONS. THESE INCLUDE VARIOUS LIMITATIONS AND EXCLUSIONS
CLAUSE THAT GOVERNS THE JURISDICTION AND VENUE OF DISPUTES, AND OBLIGATIONS TO COMPLY WITH
APPLICABLE LAWS AND REGULATIONS.

IN PARTICULAR, HOSTS SHOULD UNDERSTAND HOW THE LAWS WORK IN THEIR RESPECTIVE CITIES. SOME Cl
HAVE LAWS THAT RESTRICT THEIR ABILITY TO HOST PAYING GUESTS FOR SHORT PERIODS. THESE LAWS ARE
OFTEN PART OF A CITY’S ZONING OR ADMINISTRATIVE CODES. IN MANY CITIES, HOSTS MUST REGISTER, GET
PERMIT, OR OBTAIN A LICENSE BEFORE LISTING A PROPERTY OR ACCEPTING GUESTS. CERTAIN TYPES OF
SHORT-TERM BOOKINGS MAY BE PROHIBITED ALTOGETHER. LOCAL GOVERNMENTS VARY GREATLY IN HOW T
ENFORCE THESE LAWS. PENALTIES MAY INCLUDE FINES OR OTHER ENFORCEMENT. HOSTS SHOULD REVIEW
LOCAL LAWS BEFORE LISTING A SPACE ON AIRBNB.

Last Updated: October 27, 2016
1. Key Terms

Aironb provides an online platform that connects hosts who have accommodations to list and book with guesis
seeking to book such accommodations (collectively, the “Services“), which Services are accessible

at www.airbnb.com and any other websites through which Aironb makes the Services available (collectively, the
“Site“) and as applications for mobile, tablet and other smart devices and application program interfaces (collectiv
the “Application‘).

If you are using the Site, Application or Services and you reside in the USA, these Terms of Service are between yt
and Airbnb, Inc. If you reside outside of the USA and the People’s Republic of China (which for purposes of these
Terms of Service does not include Hong Kong, Macau and Taiwan) (hereinafter “China”), these Terms of Service ai
between you and Airbnb Ireland UC (hereinafter referred to as Airbnb Ireland). If you reside in China, these Terms
Service are between you and Airbnb Internet (Beijing) Co., Ltd. (“Airbnb China”) except where you book
Accommodation or when you create a Listing outside of China, in which case these Terms of Service are between
and Airbnb Ireland for that transaction. If you initially reside in the USA and contract with Airbnb, Inc., but
subsequenily change your residence to outside of the USA, you will contract with Airbnb China if you change your
residence to China and with Airbnb Ireland otherwise, from the date on which your place of residence changes, ar
so on and so forth. (Airbnb, Inc., Airbnb Ireland and Aironb China are each hereinafter referred to as “Airbnb“, “we
“us", or “our"). Additionally, if your Airobnb contracting entity under this Section is Airbnb China, you will neverthele
contract with Airbnb Ireland for all Bookings confirmed prior to December 7, 2016 at 10:00am UTC. Aironb Payme
Inc., Aironb Payments UK Ltd., Airobnb Payments India Pvi. Ltd. and Aironb China (individually and collectively, as
appropriate, “Airbnb Payments‘) handle any and all payments and payouts conducted through or in connection v
the Site, Application or Services (“Payment Services“). Payment Services provided by Airobnb Payments are subje
to the Payments Terms of Service (“Payments Terms’).

“Accommodation” means residential and other properties.
“Airbnb Content” means all Content that Aironb makes available through the Site, Application, Services, or its reli

promotional campaigns and official social media channels, including any Content licensed from a third party, but
excluding Member Content.

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“Booking” means a limited license granted by the Host to the Guest to enter and use the Listing for the limited
duration of the confirmed booking, during which time the Host (only where and to the extent permitted by applicat
law) retains the right to re-enter the Accommodation, in accordance with the Guest’s agreement with the Host. Ple
note, as used on the Site, Applications, and Services, “short term rental” and “home sharing” have the same mear
as “Booking;” all three terms mean a limited license to enter and use the Accommodation for the duration of the
confirmed booking as defined above.

“Booking Request Period” means the time period starting from the time when a Booking is requested by a Gues:
determined by Airbnb in its sole discretion), within which a Host may decide whether to confirm or reject that Bool
request, as stated on the Site, Application or Services. Different Booking Request Periods may apply in different
places.

“Collective Content” means Member Content and Airobnb Content.
“Communication” means an email, message via the Application, text message or message to a WeChat account.

“Content” means text, graphics, images, music, software (excluding the Application), audio, video, information or
other materials.

“Guest” means a Member who requests from a Host a Booking of a Listing via the Site, Application or Services, o
Member who stays at an Accommodation and is not the Host for the associated Listing.

“Host” means a Member who creates a Listing via the Site, Application and Services.

“Listing” means an Accommodation that is listed by a Host as available for Booking via the Site, Application, and
Services.

“Member” means a person who completes Airbnb’s account registration process, including but not limited to Hos
and Guests, as described under “Account Registration” below.

“Member Content” means all Content that a Member posts, uploads, publishes, submits, transmits, or includes il
their Listing, Member profile or Aironb promotional campaign to be made available through the Site, Application o:
Services.

“Tax” or “Taxes” mean any sales taxes, value added taxes (VAT), goods and services taxes (GST), transient

occupancy taxes, tourist or other visitor taxes, accommodation or lodging taxes, fees (such as convention center
fees) that Accommodation providers may be required by law to collect and remit to governmental agencies, and o
similar municipal, state, federal and national indirect or other withholding and personal or corporate income taxes.

. Terms of Service

By using the Site, Application or Services, you agree to comply with and be legally bound by the terms and condit
of these Terms of Service (“Terms“), whether or not you become a registered user of the Services. These Terms
govern your access to and use of the Site, Application and Services and all Collective Content (defined below), an
your participation in the Referral Program (defined below), and constitute a binding legal agreement between you i
Airbnb. Please also read carefully our Privacy Policy at www.airbnb.com/terms/privacy_policy.

In addition, certain areas of the Site and Application (and your access to or use of certain aspects of the Services
Collective Content) may have different terms and conditions, standards, guidelines, or policies posted or may req.
you to agree with and accept additional terms and conditions. If there is a conflict between these Terms and terms
and conditions posted for a specific area of the Site, Application, Services, or Collective Content, the latter terms :
conditions will take precedence with respect to your use of or access to that area of the Site, Application, Service:
Collective Content.

If you do not agree to these Terms, you have no right to obtain information from or otherwise continue using the S
Application or Services. Failure to use the Site, Application or Services in accordance with these Terms may subje:

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you to civil and criminal penalties.

THE SITE, APPLICATION AND SERVICES COMPRISE AN ONLINE PLATFORM THROUGH WHICH HOSTS MAY
CREATE LISTINGS FOR ACCOMMODATIONS AND GUESTS MAY LEARN ABOUT AND BOOK ACCOMMODATIO
DIRECTLY WITH THE HOSTS. YOU UNDERSTAND AND AGREE THAT AIRBNB IS NOT A PARTY TO ANY
AGREEMENTS ENTERED INTO BETWEEN HOSTS AND GUESTS, NOR IS AIRBNB A REAL ESTATE BROKER,
AGENT OR INSURER. AIRBNB HAS NO CONTROL OVER THE CONDUCT OF HOSTS, GUESTS AND OTHER US
OF THE SITE, APPLICATION AND SERVICES OR ANY ACCOMMODATIONS, AND DISCLAIMS ALL LIABILITY IN
THIS REGARD TO THE MAXIMUM EXTENT PERMITTED BY LAW.

IF YOU CHOOSE TO CREATE A LISTING ON AIRBNB, YOU UNDERSTAND AND AGREE THAT YOUR RELATION£
WITH AIRBNB IS LIMITED TO BEING A MEMBER AND AN INDEPENDENT, THIRD-PARTY CONTRACTOR, AND ft
AN EMPLOYEE, AGENT, JOINT VENTURER OR PARTNER OF AIRBNB FOR ANY REASON, AND YOU ACT
EXCLUSIVELY ON YOUR OWN BEHALF AND FOR YOUR OWN BENEFIT, AND NOT ON BEHALF OF OR FOR TH
BENEFIT OF AIRBNB. AIRBNB DOES NOT CONTROL, AND HAS NO RIGHT TO CONTROL, YOUR LISTING, YOL
OFFLINE ACTIVITIES ASSOCIATED WITH YOUR LISTING, OR ANY OTHER MATTERS RELATED TO ANY LISTINC
THAT YOU PROVIDE. AS A MEMBER YOU AGREE NOT TO DO ANYTHING TO CREATE A FALSE IMPRESSION T
YOU ARE ENDORSED BY, PARTNERING WITH, OR ACTING ON BEHALF OF OR FOR THE BENEFIT OF AIRBNB,
INCLUDING BY INAPPROPRIATELY USING ANY AIRBNB INTELLECTUAL PROPERTY.

YOU ACKNOWLEDGE AND AGREE THAT, BY ACCESSING OR USING THE SITE, APPLICATION OR SERVICES C
BY DOWNLOADING OR POSTING ANY CONTENT FROM OR ON THE SITE, VIA THE APPLICATION OR THROUC
THE SERVICES, YOU ARE INDICATING THAT YOU HAVE READ, AND THAT YOU UNDERSTAND AND AGREE TO
BOUND BY THESE TERMS AND RECEIVE OUR SERVICES (INCLUDING, WHERE APPLICABLE, PROGRAMS SU
AS THE HOST PROTECTION INSURANCE PROGRAM, WHETHER OR NOT YOU HAVE REGISTERED WITH THE
SITE AND APPLICATION. IF YOU DO NOT AGREE TO THESE TERMS, THEN YOU HAVE NO RIGHT TO ACCESS
USE THE SITE, APPLICATION, SERVICES, OR COLLECTIVE CONTENT. If you accept or agree to these Terms on
behalf of a company or other legal entity, you represent and warrant that you have the authority to bind that comp.
or other legal entity to these Terms and, in such event, “you” and “your” will refer and apply to that company or ot!
legal entity.

3. Modification

Airbnb reserves the right, at its sole discretion, to modify the Site, Application or Services or to modify these Term:
including the Service Fees, at any time and without prior notice. If we modify these Terms, we will post the
modification on the Site or via the Application and/or provide you notice of the modification by email. We will also
update the “Last Updated” date at the top of these Terms. Changes to the Terms will be effective at the time of
posting. Your continued access or use of the Site, Application or Services will constitute acceptance of the modifi
Terms. Additionally, if the modified Terms contain material changes applicable to existing Members (by decreasing
your rights or increasing your responsibilities), we will provide you with notice prior to the changes taking effect. If
modified Terms are not acceptable to you, your only recourse is to cease using the Site, Application and Services.
you do not close your Airobnb Account you will be deemed to have accepted the changes.

4. Eligibility

The Site, Application and Services are intended solely for persons who are 18 or older. Any access to or use of the
Site, Application or Services by anyone under 18 is expressly prohibited. By accessing or using the Site, Applicati:
or Services you represent and warrant that you are 18 or older.

For users in the United States, Aironb will, to the extent permitted by applicable laws and if we have sufficient
information to identify a user, obtain reports from public records of criminal convictions or sex offender registratior
the user. For users outside the United States, we may, to the extent permitted by applicable laws and if we have
sufficient information to identify a user, obtain the local version of background or registered sex offender checks ir
sole discretion. You agree and authorize us to use your personal information, such as your full name and date of b
to obtain such reports, including from Aironb’s vendors.

5. How the Site, Application and Services Work

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The Site, Application and Services can be used to facilitate the listing and Booking of Accommodations. Such
Accommodations are included in Listings on the Site, Application and Services by Hosts. You may view Listings a:
unregistered visitor to the Site, Application and Services; however, if you wish to book an Accommodation or crea
Listing, you must first register to create an Airbnb Account (defined below).

As stated above, Airobnb makes available an online platform or marketplace with related technology for Guests anc
Hosis to meet online and arrange for Bookings of Accommodations directly with each other. Airbnb is not an owne
operator of properties, including, but not limited to, hotel rooms, motel rooms, other lodgings or Accommodations
nor is it a provider of properties, including, but not limited to, hotel rooms, motel rooms, other lodgings or
Accommodations and Airbnb does not own, sell, resell, furnish, provide, rent, re-rent, manage and/or control
properties, including, but not limited to, hotel rooms, motel rooms, other lodgings or Accommodations or
transportation or travel services. Unless explicitly specified otherwise in the Airbnb platform, Airbnb’s responsibilit’
are limited to facilitating the availability of the Site, Application and Services.

PLEASE NOTE THAT, AS STATED ABOVE, THE SITE, APPLICATION AND SERVICES ARE INTENDED TO BE USEl
TO FACILITATE HOSTS AND GUESTS GONNECTING AND BOOKING ACCOMMODATIONS DIRECTLY WITH EAC
OTHER. AIRBNB CANNOT AND DOES NOT CONTROL THE CONTENT CONTAINED IN ANY LISTINGS AND THE
CONDITION, LEGALITY OR SUITABILITY OF ANY ACCOMMODATIONS. AIRBNB IS NOT RESPONSIBLE FOR AN
DISCLAIMS ANY AND ALL LIABILITY RELATED TO ANY AND ALL LISTINGS AND ACCOMMODATIONS.
ACCORDINGLY, ANY BOOKINGS WILL BE MADE OR ACCEPTED AT THE MEMBER’S OWN RISK.

. Account Registration

In order to access certain features of the Site and Application, and to book an Accommodation or create a Listing,
must register to create an account (“Airbnb Account") and become a Member. You may register to join the Servic
directly via the Site or Application or as described in this section.

You can also register to join by logging into your account with certain third-party social networking sites (“SNS“)
(including, but not limited to, Facebook; each such account, a “Third-Party Account’), via our Site or Application
described below. As part of the functionality of the Site, Application and Services, you may link your Airobnb Accou
with Third-Party Accounts, by either: (i) providing your Third-Party Account login information to Aironb through the
Site, Services or Application; or (ii) allowing Airbnb to access your Third-Party Account, as permitted under the
applicable terms and conditions that govern your use of each Third-Party Account. You represent that you are enti
to disclose your Third-Party Account login information to Airbnb and/or grant Airbnb access to your Third-Party
Account (including, but not limited to, for use for the purposes described herein), without breach by you of any of °
terms and conditions that govern your use of the applicable Third-Party Account and without obligating Aironb to
any fees or making Aironb subject to any usage limitations imposed by such third-party service providers. By grar
Airbnb access to any Third-Party Accounts, you understand that Aironb will access, make available and store (if
applicable) any Content that you have provided to and stored in your Third-Party Account (“SNS Content") so tha
is available on and through the Site, Services and Application via your Airobnb Account and Airbnb Account profile
page. Unless otherwise specified in these Terms, all SNS Content, if any, will be considered to be Member Conten
all purposes of these Terms. Depending on the Third-Party Accounts you choose and subject to the privacy settin:
that you have set in such Third-Party Accounts, personally identifiable information that you post to your Third-Par|
Accounts will be available on and through your Airbnb Account on the Site, Services and Application. Please note
if a Third-Party Account or associated service becomes unavailable or Airbnb’s access to such Third-Party Accoul
terminated by the third-party service provider, then SNS Content will no longer be available on and through the Sit
Services and Application. You have the ability to disable the connection between your Aironb Account and your TI
Party Accounts, at any time, by accessing the “Settings” section of the Site and Application. PLEASE NOTE THAT
YOUR RELATIONSHIP WITH THE THIRD-PARTY SERVICE PROVIDERS ASSOCIATED WITH YOUR THIRD-PART)
ACCOUNTS IS GOVERNED SOLELY BY YOUR AGREEMENT(S) WITH SUCH THIRD-PARTY SERVICE PROVIDER
Airobnb makes no effort to review any SNS Content for any purpose, including but not limited to for accuracy, legal
or non-infringement and Airbnb is not responsible for any SNS Content.

Your Airbnb Account and your Airbnb Account profile page will be created for your use of the Site and Application

based upon the personal information you provide to us or that we obtain via an SNS as described above. You may
have more than one (1) active Airbnb Account. You agree to provide accurate, current and complete information

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during the registration process and to update such information to keep it accurate, current and complete. Airbonb
reserves the right to suspend or terminate your Airobnb Account and your access to the Site, Application and Servi
if you create more than one (1) Airobnb Account, or if any information provided during the registration process or
thereafter proves to be inaccurate, fraudulent, not current, incomplete, or otherwise in violation of these Terms of
Service.

You are responsible for safeguarding your password. You agree that you will not disclose your password to any thi
party.

Unless expressly authorized by a specific feature on Airobnb, you are not permitted to share your Airobnb Account w
anyone or allow others to access or use your Aironb Account. Aironb may enable features, in our discretion, that 2
other Members to take certain actions associated with your Airbnb Account, on your behalf with your express
authorization, such as having your executive assistant, travel agent, or employer book on your behalf or adding a
family member to your account as an additional Host. You agree that you will take sole responsibility for any activi
or actions under your Airbnb Account, whether or not you have authorized such activities or actions. You will
immediately notify Aironb of any unauthorized use of your Airbnb Account.

. Accommodation Listings

As a Member, you may create Listings. To create a Listing, you will be asked a variety of questions about the
Accommodation to be listed, including, but not limited to, the location, capacity, size, features, and availability of t
Accommodation and pricing and related rules and financial terms. In order to be featured in Listings via the Site,
Application and Services, all Accommodations must have valid physical addresses. Listings will be made publicly
available via the Site, Application and Services. You understand and agree that the placement or ranking of Listinc
search results may depend on a variety of factors, including, but not limited to, Guest and Host preferences, ratinc
and/or ease of Booking.

Other Members will be able to book your Accommodation via the Site, Application and Services based upon the
information provided in your Listing, your Guest requirements, and Guests’ search parameters and preferences. Yi
understand and agree that once a Guest requests a Booking of your Accommodation, you may not request the Gi
to pay a higher price than in the Booking request.

You acknowledge and agree that you alone are responsible for any and all Listings and Member Content you post
Accordingly, you represent and warrant that any Listing you post and the Booking of, or a Guest’s stay at, an
Accommodation in a Listing you post (i) will not breach any agreements you have entered into with any third partie
such as homeowners association, condominium, or other third party agreements, and (ii) will (a) be in compliance
all applicable laws (such as zoning laws), Tax requiremenis, Intellectual Property laws, and rules and regulations tr
may apply to any Accommodation included in a Listing you post (including having all required permits, licenses an
registrations), and (6) not conflict with the rights of third parties. Please note that Airbnb assumes no responsibility
a Host’s compliance with any agreements with or duties to third parties, applicable laws, rules and regulations. Air
reserves the right, at any time and without prior notice, to remove or disable access to any Listing for any reason,
including Listings that Airbnb, in its sole discretion, considers to be objectionable for any reason, in violation of the
Terms or Airbnb’s then-current Policies and Community Guidelinesor Standards, Trademark & Branding Guidelines
otherwise harmful to the Site, Application or Services.

If you are a Host, you understand and agree that Airbnb does not act as an insurer or as your contracting agent. If
Guest requests a Booking of your Accommodation and stays at your Accommodation, any agreement you enter ir
with such Guest is between you and the Guest and Airbnb is not a party to it.

When you create a Listing, you may also choose to include certain requirements which must be met by the Memb
who are eligible to request a Booking of your Accommodation, such as requiring Members to have a profile pictur
verified phone number, in order to book your Accommodation. Any Member wishing to book Accommodations
included in Listings with such requirements must meet these requirements. More information on how to set such
requirements is available via the “Hosting” section of the Site, Application and Services.

If you are a Host, Airobnb makes certain tools available to you to help you to make informed decisions about which
Members you choose to confirm or preapprove for Booking for your Accommodation. You acknowledge and agret

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that, as a Host, you are responsible for your own acts and omissions and are also responsible for the acts and
omissions of any individuals who reside at or are otherwise present at the Accommodation at your request or
invitation, excluding the Guest (and the individuals the Guest invites to the Accommodation, if applicable.)

Airbnb recommends that Hosts obtain appropriate insurance for their Accommodations. Please review any insurar
policy that you may have for your Accommodation carefully, and in particular please make sure that you are famili:
with and understand any exclusions to, and any deductibles that may apply for, such insurance policy, including, t
not limited to, whether or not your insurance policy will cover the actions or inactions of or relating to Guests (and
individuals the Guest invites to the Accommodation, if applicable) while at your Accommodation. Please also revie
such policy for any interaction with the Airbnb Host Protection Insurance Program, to the extent provided in your
jurisdiction.

Airbnb may offer Hosts the option of having photographers take photographs of their Accommodations. If you as .
Host choose to have photographer do this, Aironb shall own all copyrights in photographs taken but these
photographs will be made available to you to include in your Listing with a watermark or tag bearing the words
“Airbnb.com Verified Photo” or similar wording (“Verified Images“). You agree that you alone are responsible for
ensuring that your Listing is accurately represented in the Verified Images. You alone are responsible for using the
Verified Images for your Listing and you warrant that you will cease to use the Verified Images or any other images
such images cease to accurately represent your Listing or if you cease to be a Host for the Listing featured. All
images, materials and content created by these photographers, including Verified Images, constitute Aironb Conte
regardless of whether you include them in your Listing and you agree not to use them except in your Listing witho:
prior authorization from Aironb. If your Airobnbo Account is terminated or suspended for any reason, you shall not us
Verified Images in any way. You agree that Airbnb retains its right to and may use the Verified Images for advertisir
marketing, commercial and other business purposes in any media or platform, whether in relation to your Listing o
otherwise, without further notice or compensation.

. No Endorsement

Aironb does not endorse any Member, Listing or Accommodation. You understand that Verified Images are intend:
only to indicate a photographic representation of the Accommodation at the time the photograph was taken. Verifi
Images are therefore not an endorsement by Airbnb of any Member, Listing or Accommodation.

Members are required by these Terms to provide accurate information. Although Airobnb may, for transparency or f
prevention or detection purposes, directly or through third parties, ask you to provide a form of government
identification, your date of birth, and other information, or undertake additional checks and processes designed ta
help verify or check the identities or backgrounds of Members and/or screen Member information against third pa
databases or other sources, we do not make any representations about, confirm, or endorse any Member or the
Member’s purported identity or background.

By registering for an Aironb Account, you agree that Airobnb may - but is not obligated to - request a consumer rer
on you from a Consumer Reporting Agency. If we do request a consumer report, we’ll request and use it in
compliance with applicable law, including the Fair Credit Reporting Act.

Any references in the Site, Application or Services to a Member being “verified” or “connected” (or similar languac
only indicate that the Member has completed a relevant verification or identification process, and does not represt
anything else. Any such description is not an endorsement, certification or guarantee by Airobnb about any Membe
including of the Member’s identity and whether the Member is trustworthy, safe or suitable. Instead, any such
description is intended to be useful information for you to evaluate when you make your own decisions about the
identity and suitability of others whom you contact or interact with via the Site, Application and Services. We there
recommend that you always exercise due diligence and care when deciding whether to stay with a Host or to acct
or preapprove a Booking request from a Guest, or to have any other interaction with any other Member. Except as
provided in the Aironb Host Guarantee Terms and Conditions(“Airbnb Host Guarantee“), which is an agreement
between Airbnb and Hosts, we are not responsible for any damage or harm resulting from your interactions with o
Members.

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By using the Site, Application or Services, you agree that any legal remedy or liability that you seek to obtain for
actions or omissions of other Members or other third parties will be limited to a claim against the particular Memb:
or other third parties who caused you harm. You agree not to attempt to impose liability on or seek any legal reme
from Aironb with respect to such actions or omissions. Accordingly, we encourage you to communicate directly w
other Members on the Site and Services regarding any Bookings or Listings made by you. This limitation shall not
apply to any claim by a Host against Airbnb regarding the remittance of payments received from a Guest by Airbn|
behalf of a Hosi, which instead shall be subject to the limitations described in the section below entitled “Limitatio
Liability”.

9. Bookings and Financial Terms
A. Key definitions

“Accommodation Fees” means the amounis that are due and payable by a Guest in exchange for that Guesi
stay in an Accommodation. The Host alone, and not Airbnb, is responsible for the Accommodation Fees for hi
her Listing. The Host may in his or her sole discretion decide to include in these amounts (i) a cleaning fee or é
other fee permitted on the Aironb platform, or (ii) Taxes that the Host determines that he or she has to collect.

“Guest Fees” means the fee that Airbnb charges a Guest for the use of the Services, which is calculated as a
percentage of the applicable Accommodation Fees. The Guest Fees will be displayed to the Guest when the
Guest is asked whether to send a Booking request to a Host.

“Host Fees” means the fee that Airbnbd charges a Host for the use of the Services, which is calculated as a
percentage of the applicable Accommodation Fees.

“Payment Method” means a payment method that you have added to your Airbnb Account, such as a credit
card, debit card or PayPal.

“Service Fees” means collectively the Guest Fees and the Host Fees.
“Total Fees” means collectively the Accommodation Fees and the Guest Fees plus any Taxes.
B. Bookings and Financial Terms for Hosts

If you are a Host and a Booking is requested for your Accommodation via the Site, Application or Services, yo
will be required to either preapprove, confirm or reject the Booking request within the Booking Request Period
otherwise the Booking request will automatically expire. When a Booking is requested via the Site, Application
Services, we will share with you (i) the first and last name of the Guest who has requested the Booking, (ii) a lir
the Guest’s Airobnb Account profile page, (iii) if the Guest and Host have both connected their Aironb accounts
SNS and have not turned off sharing of social connections, the names of any shared connections on such SN:
and (iv) an indication of whether or not the Guest has provided other information to Aironb, such as a verified
email address, connection to SNSs, or a government ID. If you are unable to confirm or decide to reject a Boo
request within the Booking Request Period, any amounts collected by Airbnb (via Aironb Payments) for the
requested Booking will be refunded to the applicable Guest. When you confirm a Booking requested by a Gue
Aironb will send you a Communication confirming such Booking, depending on the selections you make via tr
Site, Application and Services.

Aironb Payments will collect the Total Fees from Guests at the time of the Booking request or upon the Host’s
confirmation and will initiate payment of the Accommodation Fees (less applicable fees and taxes) to the Host
the time and as further described in the Payments Terms.

Each Host agrees that Airbnb may, in accordance with the cancellation policy selected by the Host and reflect
in the relevant Listing, (i) permit the Guest to cancel the Booking and (ii) refund (via Airbnb Payments) to the G
that portion of the Accommodation Fees specified in the applicable cancellation policy.

C. Bookings and Financial Terms for Guests

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The Hosts, not Airbnb, are solely responsible for honoring any confirmed Bookings and making available any
Accommodations reserved through the Site, Application and Services. If you, as a Guest, choose to enter into
transaction with a Host for the Booking of an Accommodation, you agree and understand that you will be requ
to enter into an agreement with the Host and you agree to accept any terms, conditions, rules and restrictions
associated with such Accommodation imposed by the Host.

You acknowledge and agree that you, and not Airbnb, will be responsible for performing the obligations of any
such agreements, that Airbnb is not a party to such agreements, and that, with the exception of Airbnb Payme
obligations pursuant to the Payments Terms, Aironb (inclusive of all subsidiaries) disclaims all liability arising fr
or related to any such agreements.

The Total Fees payable will be displayed to a Guest before the Guest sends a Booking request to a Host. As n
above, the Host is required to either preapprove, confirm or reject the Booking request within the Booking
Request Period; otherwise, the requested Booking will be automatically cancelled. Upon receipt of your Booki
request, Airobnb Payments may initiate a pre-authorization and/or charge a nominal amount to your Payment
Method pursuant to the Payments Terms. If a requested Booking is cancelled (i.e. not confirmed by the applic:
Hosi), any amounts collected by Aironb Paymenis will be refunded to such Guest, depending on the selection
the Guest makes via the Site and Application, and any pre-authorization of such Guest’s Payment Method will
released, if applicable.

You as a Guest agree to pay the Total Fees for any Booking requested, and in most cases confirmed, in
connection with your Airbnb Account. Airbnb Payments will collect the Total Fees pursuant to the Payments
Terms.

Once your confirmed Booking transaction is complete you will receive a confirmation Communication
summarizing your confirmed Booking.

D. Service Fees and Other Fees

In consideration for the use of Airbnb’s online marketplace and platform, Airobnb charges Service Fees. Aironb
Payments collects these Service Fees pursuant to the Payments Terms, and, where applicable, may also colle
Taxes (such as VAT in Europe) in respect of the Host Fees and Guest Fees. Airbnb Payments deducts the Hos
Fees from the Accommodation Fees before remitting the balance to the Host as described in the Payments Te
Guest Fees are, as noted above, included in the Total Fees.

Applicable Guest Fees, as well as Taxes collected by Airbnb, will be shown to Guests via the Site and Applica
at checkout, prior to their submission of a Booking request. And, Airbnb will disclose applicable Host Fees to
Hosis via the Site and Application. More information on Services Fees can be found at the Airbnb Help Cente

E. General Booking and Financial Terms
Cancellations and Refunds

If, as a Guest, you wish to cancel a confirmed Booking made via the Site, Application and Services, either pric
or after arriving at the Accommodation, the cancellation policy of the Host contained in the applicable Listing '
apply to such cancellation. Our ability to refund the Accommodation Fees, Guest Fees and other amounts
charged to you will depend upon the terms of the applicable cancellation policy. Details regarding refunds and
cancellation policies are available via the Site and Application. The Guest Fee is non-refundable unless otherw
indicated in the cancellation policy selected by the Host. Airbnb Payments will initiate any refunds due pursua
the Payments Terms.

If a Host cancels a confirmed Booking made via the Site, Services, and Application, (i) Aironb Payments will
refund the Total Fees for such Booking to the applicable Guest pursuant to the Payments Terms and (ii) the Gu
will receive a Communication from Airbnb containing alternative Listings and other related information. If the
Guest requests a Booking from one of the alternative Listings and the Host associated with such alternative
Listing confirms the Guest’s requested Booking, then the Guest agrees to pay Airbnb the Total Fees relating tc
confirmed Booking for the Accommodation in the alternative Listing, in accordance with these Terms. If a Hos

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cancelled a confirmed Booking and you, as a Guest, have not received a Communication from Airbnb,
please contact Airbnb.

If, as a Host, you cancel a confirmed Booking, you agree that Aironb may apply penalties or consequences to
or your Listing, including (i) publishing an automated review on your Listing indicating that a Booking was
cancelled, (ii) keeping the calendar for your Listing unavailable or blocked for the dates of the cancelled Booki
or (iii) imposing a cancellation fee. You will be notified of the situations in which a cancellation fee applies befo
you decide to cancel.

In certain circumstances, Aironb may decide, in its sole discretion, that it is necessary or desirable to cancel a
confirmed Booking made via the Site, Application and Services. This may be for reasons set forth in Airbnb’s
Extenuating Circumstances Policy or for any other reason. Airbnb may also determine, in its sole discretion, to
refund to the Guest part or all of the amounts charged to the Guest in accordance with the Guest Refund Polic
in connection with a cancellation under Airbnb’s Extenuating Circumstances Policy. You agree that Airbnb and
relevant Guest or Host will not have any liability for such cancellations or refunds.

Resolution Center

Members may use the Resolution Center to send or request money for refunds, services or damages related t:
their Bookings. You agree to pay all amounts sent through the Resolution Center in connection with your Airor
Account, and Aironb Payments will handle all such payments pursuant to the Payments Terms. When a Memb
agrees to provide services or amenities to another Member via the Resolution Center, both parties acknowled
and agree that they, and not Airbnb, will be responsible for performing their respective obligations of any such
agreemenis, that Aironb is not a party to such agreements, and that, with the exception of Airobnb Payments’
obligations pursuant to the Payments Terms, Aironb (inclusive of all subsidiaries) disclaims all liability arising fr
or related to any such agreements and the services or amenities provided.

Rounding Off

Aironb may, in its sole discretion, round up or round down amounts that are payable from or to Guests or Hos
the nearest whole functional base unit in which the currency is denominated (e.g. to the nearest dollar, euro or
other supported currency); for example, Aironb will round up an amount of 102.00, and 101.00.

Some currencies are denominated in large numbers. In those cases, Airobnb may determine the functional bas«
unit in which those currencies are denominated to be 10, 100 or 1,000 of the currency; the corresponding
examples for such currencies would be for Airbnb to round up an amount of 1,045 up to 1,050 and 1,044 dow
1,040, or 35,450 up to 35,500 and 35,449 down to 35,400, or 837,500 up to 838,000 and 837,499 down to
837,000.

Donations

Some Hosts may pledge to donate a portion of the funds they receive from confirmed Bookings made via the
Application and Services to aparticular cause or charity. We do not take any responsibility orliability for wnethe
the Hosi does in fact make the donation he or shepledged to make. In such cases, the Host in question is
responsible forhis or her own compliance with all laws and regulations applicable tosuch pledges and/or fund-
raising.

Booking Modifications

You as a Guest or Host are responsible for any modifications to a Booking that you direct Airobnb Customer
Service to make (“Booking Modifications“), and you agree to pay any Accommodation Fees, Guest Fees, Ha
Fees, Services Fees, and/or Taxes associated with such Booking Modifications.

10. Taxes

Tax regulations may require us to collect appropriate tax information from our Hosts, or to withhold taxes from
payouts to Hosts, or both. For instance, IRS regulations stipulate that we must collect an IRS Form W-9 from cert

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US Hosis, and an appropriate IRS Form W-8 (e.g. Form W-8BEN) from non-US hosis with at least one Listing in t!
US. You as a Host are solely responsible for keeping the information in your tax forms current, complete and accu
If you as a Host fail to provide us with documentation that we determine to be sufficient to alleviate our obligation
any) to withhold taxes from payments to you (e.g. where you are a US Host and you fail to provide us witha
completed IRS Form W-9), we reserve the right in our sole discretion to freeze all payouts to you until resolution, t
withhold such amounts as required by law, or to do both.

You as a Host understand and agree that you are solely responsible for determining (i) your applicable Tax reportin
requirements, and (ii) the Taxes that should be included, and for including Taxes to be collected or obligations rela
to applicable Taxes in Listings. You are also solely responsible for remitting to the relevant authority any Taxes
included or received by you. Airobnb cannot and does not offer Tax-related advice to any Members.

Where applicable, or based upon request from a Host, Aironb may issue a valid VAT invoice to such Host.

You understand and acknowledge that appropriate governmental agencies, departments or authorities (the “Tax
Authority“) where your Accommodation is located may require Taxes to be collected from Guests or Hosts on the
amount paid for the right to use and/or occupancy of accommodations, and to be remitted to the respective Tax
Authority. The laws in jurisdictions may vary, but these taxes may be required to be collected and remitted as a
percentage of the Accommodation Fees set by Hosts, a set amount per day, or other variations, and are sometime
called “occupancy taxes,” “hotel taxes,” “lodging taxes,” “transient taxes,” “sales and use taxes,” “value added
taxes,” “room taxes” or “tourist taxes” (hereafter, “Occupancy Taxes‘).

A. Occupancy Tax Collection and Remittance

In certain jurisdictions, Airbnb may decide in its sole discretion to facilitate collection and remittance of
Occupancy Taxes from or on behalf of Guests or Hosts, in accordance with your directions in these Terms
(“Collection and Remittance”) if such tax jurisdiction asserts Aironb or Hosts have a tax collection and remittal
obligation. In any jurisdiction in which we decide to facilitate direct Collection and Remittance, whether you ar
Guest or Host, in lieu of the Host collecting Occupancy taxes from Guests and remitting to the Tax Authority, y
hereby instruct and authorize Aironb (via Aironb Payments) to collect Occupancy Taxes from Guests on the He
behalf at the time Accommodation Fees are collected, and to remit such Occupancy Taxes to the Tax Authorit
When Airbnb facilitates Collection and Remittance of Occupancy Taxes in a jurisdiction for the first time, Airbn
will provide notice to existing Hosts with Listings for Accommodations in such jurisdictions. When a new Listir
created in a jurisdiction where Airbnb facilitates Collection and Remittance of Occupancy Taxes, the Host will
notified in the Listing creation flow.

The amount of Occupancy Taxes, if any, collected and remitted by Aironb will be visible to and separately stat
to both Guests and Hosts on their respective transaction documents. Where Airbnb is directly facilitating
Collection and Remittance, Guests and Hosts agree that Hosts are not permitted to attempt collection, or colli
any Occupancy Taxes being collected by Airbnb relating to their Accommodations on Airbnb in that such
jurisdiction. You expressly agree to release, defend, indemnify, and hold Airbnb and its affiliates and subsidiari
and their officers, directors, employees and agents, harmless from and against any claims, liabilities, damages
losses, debts, obligations, and expenses, including, without limitation, reasonable legal and/or accounting fee
arising out of or in any way related to Occupancy Taxes, including, without limitation, the applicability of,
calculation, collection or remittance of Occupancy Taxes in any amount or at all as to your transactions or
Accommodations. For any jurisdiction in which we facilitate Collection and Remittance, Hosts and Guesis
expressly grant us permission, without further notice, to store, transfer and disclose data and other informatio)
relating to them or to their transactions, Bookings, Accommodations and Occupancy Taxes, including, but noi
limited to, personally identifiable information such as Host or Guest’s name, Listing addresses, transaction dai
and amounts, tax identification number(s), the amount of taxes collected from Guests or allegedly due, contac
information and similar information, to the relevant Tax Authority.

B. Opt-in to Host Remittance of Taxes

In other jurisdictions, Airobnb may decide in its sole discretion to facilitate Occupancy Tax collection on behalf |
Hosts and Guests in accordance with a Host’s direction to opt in to a specific Occupancy Tax line item in the

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Booking process, in which the Host directs that Occupancy Taxes from Guesis be sent directly to the Host so
the Host will remit such taxes directly to Tax Authority (“Opt-in for Host Remittance’). In any jurisdiction in w
we decide to facilitate Collection by Opt-in for Host Remittance, whether you are a Guest or Host, you hereby
instruct and authorize Airbonb (via Airbnb Payments) to send Occupancy Taxes received from Guests at the tir
Accommodation Fees are collected to the Host who is obligated to send such taxes to the Tax Authority direc
Aironb offers and a Host selects Opt-in for Host Remittance in any jurisdiction, Hosts and Guests remain solel
responsible and liable for the payment and remittance of any and all taxes that may apply to Accommodations
you agree and understand that Airbnb is not responsible for, and will not send any such Occupancy Taxes to t
Tax Authority under Opt-in to Host Remittance of Taxes. You hereby agree that through third party payment
processors, Airbnb is merely processing Your election and direction to have Occupancy Taxes from Guests se
directly to the Host for remittance by the Host to the Tax Authority, and that You will remit all amounts collecte
from Guests as Occupancy Taxes to such Tax Authority. You expressly agree to release, defend, indemnify, an
hold Airbnb and its affiliates and subsidiaries, and their officers, directors, employees and agents, harmless fre
and against any claims, liabilities, damages, losses, debts, obligations, and expenses, including, without
limitation, reasonable legal and/or accounting fees, arising out of or in any way related to Occupancy Taxes,
including, without limitation, the applicability of, calculation of, collection of Occupancy Taxes in any amount c
all as to your transactions or Accommodations. For any jurisdiction in which we facilitate Opt-in for Host
Remittance, Hosts and Guests expressly grant us permission, without further notice, to store, transfer and
disclose data and other information relating to them or to their transactions, Bookings, Accommodations and
Occupancy Taxes, including, but not limited to, personally identifiable information such as Host or Guest’s nar
Listing addresses, transaction dates and amounis, tax identification number(s), the amount of taxes received |
Hosts from Guests, or allegedly due, contact information and similar information, to the relevant Tax Authority.

C. Miscellaneous Occupancy Tax Provisions

Whether you are a Guest or Host, you agree that any claim or cause of action relating to Aironb’s facilitation o1
Opt-in for Host Remittance or Collection and Remittance of Occupancy Taxes shall not extend to any supplier
vendor that may be used by Airbnb in connection with facilitation of Opt-in Remittance or Collection and
Remittance of Occupancy Taxes, if any. Guests and Hosts agree that we may seek additional amounts from Yi
the event that the Taxes collected and/or remitted are insufficient to fully discharge your obligations to the Tax
Authority, and agree that your sole remedy for Occupancy Taxes collected is a refund of Occupancy Taxes
collected by Airbnb from the applicable Tax Authority in accordance with applicable procedures set by that Ta
Authority.

In any jurisdiction in which we have not provided notice of, or are not facilitating (or are no longer facilitating) t!
collection or remittance of Occupancy Taxes by Collection and Remittance, Opt-in for Host Remittance or any
other means or method, in your jurisdiction, Hosts and Guests remain solely responsible and liable for the
collection and/or remittance of any and all Occupancy Taxes that may apply to Accommodations.

Hosis and Guests acknowledge and agree that in some jurisdictions, Airobno may decide not to facilitate collec
or remittance of Occupancy Taxes or may not be able to facilitate the collection and/or remittance of Occupar
Taxes, and nothing contained in these Terms of Service is a representation or guarantee that Airbnb will facilité
collection and/or remittance of Occupancy Tax anywhere at all, including in any specific jurisdiction, or that Ail
will continue to facilitate any collection or remittance of Occupancy Tax in any specific jurisdiction in which it r
have been offered. Aironb reserves the right, in its sole determination, to cease any facilitation of any collectio
and remittance of Occupancy Tax (regardless of method used or to be used in the future) for any reason or no
reason at all, provided that it will give Hosts reasonable notice in any jurisdiction in which Aironb determines tc
cease any such facilitation.

11. Currency Conversion

Aironb’s online platform facilitates Bookings between Guests and Hosis who may pay in a currency different from
destination currency, which may require currency conversions to accommodate these differing currency preferenc
Although the Airbonb platform allows users to view the price of Listings in a number of currencies, the currencies
available for users to make and receive payments may be limited, and may not include the default currency in any
given geographic location.

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Details regarding currency conversion, including any associated fees, are detailed in the Payments Terms.

Damage to Accommodations and Security Deposits

As a Guest, you are responsible for leaving the Accommodation (including any personal or other property located
an Accommodation) in the condition it was in when you arrived. You acknowledge and agree that, as a Guest, you
responsible for your own acts and omissions and are also responsible for the acts and omissions of any individual
whom you invite to, or otherwise provide access to, the Accommodation. In the event that a Host claims otherwis«
and provides evidence of damage (“Damage Claim‘), including but not limited to photographs, you agree to pay {
cost of replacing the damaged items with equivalent items.

Hosts may choose to include security deposits in their Listings (“Security Deposits“). Each Listing will describe
whether a Security Deposit is required for the applicable Accommodation. Airbnb will use commercially reasonabl
efforts to address Hosts’ requests and claims related to Security Deposits, but Airbnb is not responsible for
administering or accepting any Damage Claims by Hosis related to Security Deposits, and disclaims any and all
liability in this regard.

If a Host has a Damage Claim for a confirmed Booking, the Host can seek payment from the Guest through the
Resolution Center. The Host may escalate the Damage Claim to Aironb if the Host and Guest are unable to resolve
Damage Claim through the Resolution Center, or immediately in certain circumstances. If a Host escalates a Dam
Claim to Aironb, you as a Guest will be notified of the Damage Claim and given an opportunity to respond. If you é
Guest agree to pay the Host in connection with a Damage Claim, or if Aironb determines, in its sole discretion, tha
you are responsible for damaging an Accommodation or any personal or other property located at an
Accommodation, Aironb (via Airbnb Payments) will collect any such costs from you and/or against the Security
Deposit in accordance with the Payments Terms. Airbnb also reserves the right to otherwise collect payment from
and pursue any avenues available to Airbnb in this regard in situations in which you have been determined, in Airb
sole discretion, to have damaged any Accommodation or any personal or other property located at an
Accommodation.

Both Guests and Hosts agree to cooperate with and assist Airbnb in good faith, and to provide Aironb with such
information and take such actions as may be reasonably requested by Aironb, in connection with any Damage Cle
or other complaints or claims made by Members relating to Accommodations or any personal or other property
located at an Accommodation (including, without limitation, payment requests made under the Aironb Host
Guarantee) or with respect to any investigation undertaken by Airbnb or a representative of Airobnb regarding use c
abuse of the Site, Application or the Services. If you are a Guest, upon Aironb’s reasonable request, and to the exi
you are reasonably able to do so, you agree to participate in mediation or similar resolution process with a Host, a
cosi to you, which process will be conducted by Airbnb or a third party selected by Airbnb or its insurer, with resp:
to losses for which the Host is requesting payment from Airobnb under the Airbnb Host Guarantee.

If you are a Guest, you understand and agree that Airobnb may make a claim under your homeowner’s, renter’s or ¢
insurance policy related to any damage or loss that you may have caused or been responsible for or to an
Accommodation or any personal or other property located at an Accommodation (including without limitation ama
paid by Aironb under the Airpbnb Host Guarantee). You agree to cooperate with and assist Airbnb in good faith, arc
provide Airobnb with such information as may be reasonably requested by Airbnb, in order to make a claim under y
homeowner’s, renter’s or other insurance policy, including, but not limited to, executing documents and taking suc
further acts as Airbnb may reasonably request to assist Airbnb in accomplishing the foregoing.

Security Deposits, if required by a Host, may be applied to any fees due from a Guest overstaying at a Listing wit
the Host’s consent.

Overstaying without the Host’s Consent
Guests agree that a confirmed Booking is merely a license granted by the Host to the Guest to enter and use the
Listing for the limited duration of the confirmed Booking and in accordance with the Guest’s agreement with the H

Guests further agree to leave the Accommodation no later than the checkout time that the Host specifies in the Li:
or such other time as mutually agreed upon between the Host and Guest. If a Guest stays past the agreed upon

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checkout time without the Host’s consent, they no longer have a license to stay in the Listing and the Host is entit!
to make the Guest leave. In addition, Guests agree that the Host can charge the Guest, for each 24 hour period th
the Guesi stays over the agreed period without the Host’s consent, an additional nightly fee of two times the aver
nightly Accommodation Fee originally paid by the Guest to cover the inconvenience suffered by the Host, plus all
applicable Service Fees, Taxes, and any legal expenses incurred by the Host to make the Guest leave (collectively
“Additional Sums‘). Airbnb Payments will collect Additional Sums from Guests pursuant to the Payments Terms.

User Conduct

You understand and agree that you are solely responsible for compliance with any and all laws, rules, regulations,
Tax obligations that may apply to your use of the Site, Application, Services and Collective Content. In connection
with your use of the Site, Application, Services and Collective Content, you may not and you agree that you will nc

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violate any local, state, provincial, national, or other law or regulation, or any order of a court, including, withou
limitation, zoning restrictions and Tax regulations;

use manual or automated software, devices, scripts, robots, backdoors or other means or processes to acces
“scrape,” “crawl” or “spider” any web pages or other services contained in the Site, Application, Services or
Collective Content;

access or use our Site, Application, Services or the Airobnb API to use, expose, or allow to be used or exposec
any Airbnb Content: (i) that is not publicly displayed by Airbnb in its search results pages or listing pages befo.
Booking is confirmed; (ii) in any way that is inconsistent with the Airbnb Privacy Policy or Terms of Service; or
in any way that otherwise violates the privacy rights or any other rights of Airbnb’s users or any other third par
use the Site, Application, Services or Collective Content for any commercial or other purposes that are not
expressly permitted by these Terms or in a manner that falsely implies Airobnb endorsement, partnership or
otherwise misleads others as to your affiliation with Airbnb;

dilute, tarnish or otherwise harm the Airbnb brand in any way, including through unauthorized use of Collective
Content, registering and/or using Airbnb or derivative terms in domain names, trade names, trademarks or otf
source identifiers, or registering and/or using domains names, trade names, trademarks or other source identi
that closely imitate or are confusingly similar to Airobnb domains, trademarks, taglines, promotional campaigns
Collective Content

copy, store or otherwise access or use any information contained on the Site, Application, Services or Collecti
Content for purposes not expressly permitted by these Terms;

infringe the rights of Aironb or the rights of any other person or entity, including without limitation, their intellec
property, privacy, publicity or contractual right

interfere with or damage our Site, Application or Services, including, without limitation, through the use of viru:
cancel bots, Trojan horses, harmful code, flood pings, denial-of-service attacks, backdoors, packet or IP spoc
forged routing or electronic mail address information or similar methods or technology;

use our Site, Application or Services to transmit, distribute, post or submit any information concerning any ott
person or entity, including without limitation, photographs of others without their permission, personal contact
information or credit, debit, calling card or account numbers;

use our Site, Application, Services or Collective Content in connection with the distribution of unsolicited
commercial email (“spam”) or advertisements unrelated to lodging in a private residence;

“stalk” or harass any other user of our Site, Application, Services or Collective Content, or collect or store any
personally identifiable information about any other user other than for purposes of transacting as an Airbnb Gi
or Host;

offer, as a Host, any Accommodation that you do not yourself own or have permission to Book as a residentia
other property (without limiting the foregoing, you will not list Accommodations as a Host if you are serving in:
capacity of an agent for a third party);

offer, as a Host, any Accommodation that may not be Booked pursuant to the terms and conditions of an
agreement with a third party;

register for more than one Aironb Account or register for an Airbnb Account on behalf of an individual other th:
yourself;

unless Airbnb explicitly permits otherwise, request or book a stay at any Accommodation if you will not actual
staying at the Accommodation yourself;

contact another Member for any purpose other than asking a question related to a Booking, Accommodation,
Listing, or the Member's use of the Site, Application and Services;

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recruit or otherwise solicit any Host or other Member to join third-party services or websites that are competiti
to Aironb, without Airbnb’s prior written approval;

recruit or otherwise solicit any Member to join third-party services, applications or websites, without our prior
written approval;

impersonate any person or entity, or falsify or otherwise misrepresent yourself or your affiliation with any persc
entity;

use automated scripts to collect information from or otherwise interact with the Site, Application, Services or
Collective Content;

use the Site, Application, Services or Collective Content to find a Host or Guest and then complete a Booking
an Accommodation independent of the Site, Application or Services, in order to circumvent the obligation to p
any Service Fees related to Airbnb’s provision of the Services or for any other reasons;

as a Host, submit any Listing with false or misleading information, including price information, or submit any
Listing with a price that you do not intend to honor;

o violate these Terms or Aironb’s then-current Policies and Community Guidelinesor Standards;
© engage in disruptive, circumventive, abusive or harassing behavior in any area or aspect of our Platform,

Application, or Services;

post, upload, publish, submit or transmit any Content that: (i) infringes, misappropriates or violates a third part
patent, copyright, trademark, trade secret, moral rights or other intellectual property rights, or rights of publicit
privacy; (ii) violates, or encourages any conduct that would violate, any applicable law or regulation or would ¢
rise to civil liability; (iii) is fraudulent, false, misleading (directly or by omission or failure to update information) «
deceptive; (iv) is defamatory, obscene, pornographic, vulgar or offensive; (v) promotes discrimination, bigotry,
racism, hatred, harassment or harm against any individual or group; (vi) is violent or threatening or promotes
violence or actions that are threatening to any other person; or (vii) promotes illegal or harmful activities or
substances;

systematically retrieve data or other content from our Site, Application or Services to create or compile, directl
indirectly, in single or multiple downloads, a collection, compilation, database, directory or the like, whether by
manual methods, through the use of bots, crawlers, or spiders, or otherwise;

use, display, mirror or frame the Site, Application, Services or Collective Content, or any individual element wit
the Site, Application, Services or Collective Content, Airobnb’s name, any Aironb trademark, logo or other
proprietary information, or the layout and design of any page or form contained on a page in the Site, Applicat
or Services, without Airbnb’s express written consent;

access, tamper with, or use non-public areas of the Site, Application or Services, Aironb’s computer systems,
the technical delivery systems of Aironb’s providers;

attempt to probe, scan, or test the vulnerability of any Airbnb system or network or breach any security or
authentication measures;

avoid, bypass, remove, deactivate, impair, descramble, or otherwise circumvent any technological measure
implemented by Aironb or any of Airbnb’s providers or any other third party (including another user) to protect
Site, Services, Application or Collective Content;

forge any TCP/IP packet header or any part of the header information in any email or newsgroup posting, or ir
way use the Site, Services, Application or Collective Content to send altered, deceptive or false source-identif
information;

attempt to decipher, decompile, disassemble or reverse engineer any of the software used to provide the Site,
Services, Application or Collective Content;

oe advocaie, encourage, or assist any third party in doing any of the foregoing; or
oe accept or make a payment for Accommodation Fees outside Airobnb Payments. If you do so, you acknowledg¢

and agree that you: (i) would be in breach of these Terms; (ii) accept all risks and responsibility for such payme
and (iii) hold Airobnb harmless from any liability for such payment.

Airbnb has the right to investigate and prosecute violations of any of the above to the fullest extent of the law. In
addition, and as set in these Terms, Aironb may take a range of actions against you, including but not limited to
removing or disabling access to any or all of your Member Content or deactivating or canceling your Listing(s) or
Aironbo Account, for a violation of this Section or these Terms.

Aironb may access, preserve and disclose any of your information if we are required to do so by law, or if we belie
in good faith that it is reasonably necessary to (i) respond to claims asserted against Airbnb or to comply with legz
process (for example, subpoenas or warrants), (ii) enforce or administer our agreements with users, such as these

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Terms and the Airbnb Host Guarantee, (iii) for fraud prevention, risk assessment, investigation, customer support,
product development and de-bugging purposes, or (iv) protect the rights, property or safety of Airbnb, its users, o!
members of the public. You acknowledge that Airbnb has no obligation to monitor your access to or use of the Sit
Application, Services or Collective Content or to review, remove, disable access to or edit any Member Content, b
has the right to do so for the purpose of operating and improving the Site, Application and Services (including witt
limitation for fraud prevention, risk assessment, investigation and customer support purposes), to ensure your
compliance with these Terms, to comply with applicable law or the order or requirement of a court, administrative
agency or other governmental body, to respond to content that it determines is otherwise objectionable or as set {
in these Terms. Aironb reserves the right, at any time and without prior notice, to remove or disable access to any
Collective Content that Aironb, at its sole discretion, considers to be objectionable for any reason, in violation of tt
Terms or otherwise harmful to the Site, Application or Services.

Reporting Misconduct

If you stay with or host anyone who you feel is acting or has acted inappropriately, including but not limited to any
who (i) engages in offensive, violent or sexually inappropriate behavior, (ii) you suspect of stealing from you, or (iii)

engages in any other disturbing conduct, you should immediately report such person to the appropriate authoritie:
and then to Aironb by contacting us with your police station and report number; provided that your report will not

obligate us to take any action beyond that required by law (if any) or cause us to incur any liability to you.

Privacy

You agree that Aironb’s Privacy Policy (as may be updated from time to time) governs Airbnb’s collection and use |
your personal information.

Intellectual Property Ownership and Rights Notices

The Site, Application, Services, and Collective Content are protected by copyright, trademark, and other laws of tt
United States and foreign countries. You acknowledge and agree that the Site, Application, Services and Collectiv
Content, including all associated intellectual property rights, are the exclusive property of Airbnb and its licensors.
will not remove, alter or obscure any copyright, trademark, service mark or other proprietary rights notices
incorporated in or accompanying the Site, Application, Services, or Collective Content. All trademarks, service ma
logos, trade names, and any other proprietary designations of Airbnb used on or in connection with the Site,
Application, Services, and Aironb Content are trademarks or registered trademarks of Aironb in the US and abroac
Trademarks, service marks, logos, trade names and any other proprietary designations of third parties used on or
connection with the Site, Application, Services, and Airobnb Content are used for identification purposes only and +
be the property of their respective owners. As a Host, Guest, or Member, you understand and agree that you are
bound by the additional Terms, Guidelines and Policies that apply to your use of the Site, Application, Services an:
Collective Content, including Airbnb’s Trademark & Branding Guidelines (as may be updated from time to time).

Additional Terms

Our Site, Application and Services have different products, features and offerings, so sometimes additional terms
product requirements may apply to your use of those products, features or offerings. For example, additional term
apply if you refer new users to Airobnb (“Referral Program") or participate in our Home Safety program. If addition:
terms are available for the relevant product or Services you use, those additional terms become part of these Terry

Application License

Subject to your compliance with these Terms, Aironb grants you a limited non-exclusive, non-transferable license
download and install a copy of the Application on each mobile device or computer that you own or control and rur
such copy of the Application solely for your own personal use. Furthermore, with respect to any Apple App Store
Sourced Application (defined below), you will only use the App Store Sourced Application (i) on an Apple-branded
product that runs the iOS (Apple’s proprietary operating system) and (ii) as permitted by the “Usage Rules” set fori
the Apple App Store Terms of Service. Airobnb reserves all rights in the Application not expressly granted to you by
these Terms.

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Airbnb Content and Member Content License

Subject to your compliance with these Terms and Airbnb’s Trademark & Branding Guidelines, Airbnb grants you a
limited, non-exclusive, non-transferable license, to (i) access and view any Airbnb Content solely for your personal
non-commercial purposes and (ii) access and view any Member Content to which you are permitted access, solel
your personal and non-commercial purposes. You have no right to sublicense the license rights granted in this
section.

You will not use, copy, adapt, modify, prepare derivative works based upon, distribute, license, sell, transfer, public
display, publicly perform, transmit, broadcast or otherwise exploit the Site, Application, Services, or Collective
Content, except as expressly permitted in these Terms. No licenses or rights are granted to you by implication or
otherwise under any intellectual property rights owned or controlled by Airbnb or its licensors, except for the licen:
and rights expressly granted in these Terms.

Member Content

We may, in our sole discretion, permit you to post, upload, publish, submit or transmit Member Content. By makin
available any Member Content on or through the Site, Application, Services, or through Aironb promotional
campaigns, you hereby grant to Aironb a worldwide, irrevocable, perpetual (or for the term of the protection), non-
exclusive, transferable, royalty-free license, with the right to sublicense, to use, view, copy, adapt, translate, modif
distribute, license, sell, transfer, publicly display, publicly perform, transmit, stream, broadcast, access, view, and
otherwise exploit such Member Content on, through, by means of or to promote or market the Site, Application ar
Services. Airobnb does not claim any ownership rights in any such Member Content and nothing in these Terms wil
deemed to restrict any rights that you may have to use and exploit any such Member Content.

You acknowledge and agree that you are solely responsible for all Member Content that you make available throuc
the Site, Application, Services or through Aironb promotional campaigns. Accordingly, you represent and warrant °
(i) you either are the sole and exclusive owner of all Member Content that you make available through the Site,
Application, Services or through Airbnb promotional campaigns or you have all rights, licenses, consents and rele:
that are necessary to grant to Airbnb the rights in such Member Content, as contemplated under these Terms; anc
neither the Member Content nor your posting, uploading, publication, submission or transmittal of the Member
Content or Airbnb’s use of the Member Content (or any portion thereof) on, through or by means of the Site,
Application, the Services or Airbnb promotional campaigns will infringe, misappropriate or violate a third party’s
patent, copyright, trademark, trade secret, moral rights or other proprietary or intellectual property rights, or rights
publicity or privacy, or result in the violation of any applicable law or regulation.

Links

The Site, Application and Services may contain links to third-party websites or resources. You acknowledge and a
that Airbnb is not responsible or liable for: (i) the availability or accuracy of such websites or resources; or (ii) the

content, products, or services on or available from such websites or resources. Links to such websites or resource
do not imply any endorsement by Airbonb of such websites or resources or the content, products, or services avail:
from such websites or resources. You acknowledge sole responsibility for and assume all risk arising from your us
any such websites or resources or the Content, products or services on or available from such websites or resourt

Some portions of the Aironb platform implement Google Maps/Earth mapping services, including Google Maps Al
Your use of Google Maps/Earth is subject to Google’s terms of use.

Feedback

We welcome and encourage you to provide feedback, comments and suggestions for improvements to the Site,
Application and Services (“Feedback“). You may submit Feedback by emailing us, through the “Contact” section
the Site and Application, or by other means of communication. You acknowledge and agree that all Feedback you
give us will be the sole and exclusive property of Airobnb and you hereby irrevocably assign to Airbnb and agree to
irrevocably assign to Airbnb all of your right, title, and interest in and to all Feedback, including without limitation a
worldwide patent, copyright, trade secret, moral and other proprietary or intellectual property rights therein, and w

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any moral rights you may have in such Feedback. At Airbnb’s request and expense, you will execute documents a
take such further acts as Airbnb may reasonably request to assist Aironb to acquire, perfect, and maintain its
intellectual property rights and other legal protections for the Feedback.

23. Copyright Policy

Aironb respects copyright law and expects its users to do the same. It is Aironb’s policy to terminate in appropriat
circumstances the Airobnb Accounts of Members or other account holders who repeatedly infringe or are believed |
be repeatedly infringing the rights of copyright holders. Please see Airbnb’s Copyright Policy for further informatio

24, Term and Termination, Suspension and Other Measures
A. Term

These Terms shall be effective for a 30-day term, at the end of which it will automatically and continuously ren
for subsequent 30-day terms until such time when you or Aironb terminate these Terms as described below.

B. Termination for convenience

You may terminate these Terms at any time via the “Cancel Account” feature on the Site or by sending us an
email. If you cancel your Airobnb Account as a Host, any confirmed Bookings will be automatically cancelled ar
your Guests will receive a full refund. If you cancel your Airobnb Account as a Guest, any confirmed Booking wi
automatically cancelled and any refund will depend upon the terms of the applicable cancellation policy.

Without limiting our rights specified below, Airobnb may terminate these Terms for convenience at any time by
giving you 30 days’ notice via email to your registered email address.

C. Termination for breach, suspension and other measures

Airbnb may immediately, without notice terminate these Terms if (i) you have materially breached these Terms
our Policies, including but not limited to any breach of your warranties outlined in these Terms or breach of the
“User Conduct” provisions in these Terms, (ii) you have provided inaccurate, fraudulent, outdated or incomple
information during the Airbnb Account registration, or Listing process or thereafter, (iii) you have violated
applicable laws, regulations or third party rights, or (iv) Airbnb believes in good faith that such action is reason
necessary to protect the safety or property of other Members, Aironb or third parties, for fraud prevention, risk
assessment, security or investigation purposes.

In addition Aironb may deactivate or delay Listings, reviews, or other Member Content, cancel any pending or
confirmed Bookings, limit your use of or access to your Airobnb Account and the Site, Application or Services,
temporarily or permanently revoke any special status associated with your Airbnb Account, or temporarily or
permanently suspend your Airbnb Account if (i) you have breached these Terms or our Policies, including mate
and non-material breaches and receiving poor ratings from Hosts or Guests, or (ii) Aironb believes in good fait
that such action is reasonably necessary to protect the safety or property of Members, Airbnb or third parties,
fraud prevention, risk assessment, security or investigation purposes.

If we take any of the measures described in this Section 24.C, we may (i) communicate to your Guests or Hos
that a pending or confirmed Booking has been cancelled, (ii) refund your Guests in full for any and all confirme
Bookings, irrespective of preexisting cancellation policies, (iii) support your Guests, on an exceptional basis, ir
finding potential alternative Accommodations, and (iv) you will not be entitled to any compensation for confirrr
Bookings that were cancelled.

In case of non-material breaches and where appropriate, you will be given notice of any measure by Airbnb ar
an opportunity to resolve the issue to Airbnb’s reasonable satisfaction.

D. Consequences

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If you or we terminate this Agreement, we do not have an obligation to delete or return to you any of your Men
Content, including but not limited to any reviews or Feedback. When this Agreement has been terminated, you
not entitled to a restoration of your Airbnb Account or any of your Member Content. If your access to or use o
Site, Application and Services has been limited or your Airobnb Account has been suspended or this Agreemer
has been terminated by us, you may not register a new Airbnb Account or attempt to access and use the Site,
Application and Services through other Airobnb Accounts.

E. Survival

If you or we terminate this Agreement, the clauses of these Terms that reasonably should survive termination
the Agreement will remain in effect.

25. Disclaimers

IF YOU CHOOSE TO USE THE SITE, APPLICATION, SERVICES OR COLLECTIVE CONTENT OR PARTICIPATE IN
THE REFERRAL PROGRAM, YOU DO SO AT YOUR SOLE RISK. YOU ACKNOWLEDGE AND AGREE THAT AIRBI
DOES NOT HAVE AN OBLIGATION TO CONDUCT BACKGROUND OR REGISTERED SEX OFFENDER CHECKS (¢
ANY MEMBER, INCLUDING, BUT NOT LIMITED TO, GUESTS AND HOSTS. BUT MAY CONDUCT SUCH
BACKGROUND OR REGISTERED SEX OFFENDER CHECKS, IN OUR SOLE DISCRETION, TO THE EXTENT
PERMITTED BY APPLICABLE LAWS AND IF WE HAVE SUFFICIENT INFORMATION TO IDENTIFY A MEMBER. IF
CHOOSE TO CONDUCT SUCH CHECKS, TO THE EXTENT PERMITTED BY APPLICABLE LAW, WE DISCLAIM
WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, THAT SUCH CHECKS WILL IDENTIFY PRIOR
MISCONDUCT BY A USER OR GUARANTEE THAT A USER WILL NOT ENGAGE IN MISCONDUCT IN THE FUTUI

THE SITE, APPLICATION, SERVICES, COLLECTIVE CONTENT AND REFERRAL PROGRAM ARE PROVIDED “AS
WITHOUT WARRANTY OF ANY KIND, EITHER EXPRESS OR IMPLIED. WITHOUT LIMITING THE FOREGOING,
AIRBNB EXPLICITLY DISCLAIMS ANY WARRANTIES OF MERCHANTABILITY, SATISFACTORY QUALITY, FITNES
FOR A PARTICULAR PURPOSE, QUIET ENJOYMENT OR NON-INFRINGEMENT, AND ANY WARRANTIES ARISII
OUT OF COURSE OF DEALING OR USAGE OF TRADE. AIRBNB MAKES NO WARRANTY THAT THE SITE,
APPLICATION, SERVICES, COLLECTIVE CONTENT, INCLUDING, BUT NOT LIMITED TO, THE LISTINGS OR ANY
ACCOMMODATIONS, OR THE REFERRAL PROGRAM WILL MEET YOUR REQUIREMENTS OR BE AVAILABLE C
AN UNINTERRUPTED, SECURE, OR ERROR-FREE BASIS. AIRBNB MAKES NO WARRANTY REGARDING THE
QUALITY OF ANY LISTINGS, ACCOMMODATIONS, HOSTS, GUESTS, YOUR ACCRUAL OF AIRBNB TRAVEL
CREDITS, THE SERVICES OR COLLECTIVE CONTENT OR THE ACCURACY, TIMELINESS, TRUTHFULNESS,
COMPLETENESS OR RELIABILITY OF ANY COLLECTIVE CONTENT OBTAINED THROUGH THE SITE,
APPLICATION, SERVICES OR REFERRAL PROGRAM.

NO ADVICE OR INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED FROM AIRBNB OR THROUGH THE
SITE, APPLICATION, SERVICES OR COLLECTIVE CONTENT, WILL CREATE ANY WARRANTY NOT EXPRESSLY
MADE HEREIN.

YOU ARE SOLELY RESPONSIBLE FOR ALL OF YOUR COMMUNICATIONS AND INTERACTIONS WITH OTHER
USERS OF THE SITE, APPLICATION OR SERVICES AND WITH OTHER PERSONS WITH WHOM YOU
COMMUNICATE OR INTERACT AS A RESULT OF YOUR USE OF THE SITE, APPLICATION OR SERVICES,
INCLUDING, BUT NOT LIMITED TO, ANY HOSTS OR GUESTS. YOU UNDERSTAND THAT AIRBNB DOES NOT
MAKE ANY ATTEMPT TO VERIFY THE STATEMENTS OF USERS OF THE SITE, APPLICATION OR SERVICES OR
REVIEW OR VISIT ANY ACCOMMODATIONS. AIRBNB MAKES NO REPRESENTATIONS OR WARRANTIES AS TC
THE CONDUCT OF USERS OF THE SITE, APPLICATION OR SERVICES OR THEIR COMPATIBILITY WITH ANY
CURRENT OR FUTURE USERS OF THE SITE, APPLICATION OR SERVICES. YOU AGREE TO TAKE REASONABL
PRECAUTIONS IN ALL COMMUNICATIONS AND INTERACTIONS WITH OTHER USERS OF THE SITE, APPLICAT
OR SERVICES AND WITH OTHER PERSONS WITH WHOM YOU COMMUNICATE OR INTERACT AS A RESULT C
YOUR USE OF THE SITE, APPLICATION OR SERVICES, INCLUDING, BUT NOT LIMITED TO, GUESTS AND HOS
PARTICULARLY IF YOU DECIDE TO MEET OFFLINE OR IN PERSON REGARDLESS OF WHETHER SUCH MEETI
ARE ORGANIZED BY AIRBNB. AIRBNB EXPLICITLY DISCLAIMS ALL LIABILITY FOR ANY ACT OR OMISSION Ol
ANY GUEST OR OTHER THIRD PARTY.

26. Limitation of Liability

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YOU ACKNOWLEDGE AND AGREE THAT, TO THE MAXIMUM EXTENT PERMITTED BY LAW, THE ENTIRE RISK
ARISING OUT OF YOUR ACCESS TO AND USE OF THE SITE, APPLICATION, SERVICES AND COLLECTIVE
CONTENT, YOUR LISTING OR BOOKING OF ANY ACCOMMODATIONS VIA THE SITE, APPLICATION AND
SERVICES, YOUR PARTICIPATION IN THE REFERRAL PROGRAM, AND ANY CONTACT YOU HAVE WITH OTHEI
USERS OF AIRBNB WHETHER IN PERSON OR ONLINE REMAINS WITH YOU. NEITHER AIRBNB NOR ANY OTF
PARTY INVOLVED IN CREATING, PRODUCING, OR DELIVERING THE SITE, APPLICATION, SERVICES, COLLEC]
CONTENT OR THE REFERRAL PROGRAM WILL BE LIABLE FOR ANY INCIDENTAL, SPECIAL, EXEMPLARY OR
CONSEQUENTIAL DAMAGES, INCLUDING LOST PROFITS, LOSS OF DATA OR LOSS OF GOODWILL, SERVICE
INTERRUPTION, COMPUTER DAMAGE OR SYSTEM FAILURE OR THE COST OF SUBSTITUTE PRODUCTS OR
SERVICES, OR FOR ANY DAMAGES FOR PERSONAL OR BODILY INJURY OR EMOTIONAL DISTRESS ARISING
OUT OF OR IN CONNECTION WITH THESE TERMS, FROM THE USE OF OR INABILITY TO USE THE SITE,
APPLICATION, SERVICES OR COLLECTIVE CONTENT, FROM ANY COMMUNICATIONS, INTERACTIONS OR
MEETINGS WITH OTHER USERS OF THE SITE, APPLICATION, OR SERVICES OR OTHER PERSONS WITH WHC
YOU COMMUNICATE OR INTERACT AS A RESULT OF YOUR USE OF THE SITE, APPLICATION, SERVICES, OR
YOUR PARTICIPATION IN THE REFERRAL PROGRAM OR FROM YOUR LISTING OR BOOKING OF ANY
ACCOMMODATION VIA THE SITE, APPLICATION AND SERVICES, WHETHER BASED ON WARRANTY, CONTRA
TORT (INCLUDING NEGLIGENCE), PRODUCT LIABILITY OR ANY OTHER LEGAL THEORY, AND WHETHER OR I
AIRBNB HAS BEEN INFORMED OF THE POSSIBILITY OF SUCH DAMAGE, EVEN IF A LIMITED REMEDY SET
FORTH HEREIN IS FOUND TO HAVE FAILED OF ITS ESSENTIAL PURPOSE.

EXCEPT FOR OUR OBLIGATIONS TO PAY AMOUNTS TO APPLICABLE HOSTS PURSUANT TO THESE TERMS (¢
AN APPROVED PAYMENT REQUEST UNDER THE AIRBNB HOST GUARANTEE, IN NO EVENT WILL AIRBNB’S
AGGREGATE LIABILITY ARISING OUT OF OR IN CONNECTION WITH THESE TERMS AND YOUR USE OF THE £
APPLICATION AND SERVICES INCLUDING, BUT NOT LIMITED TO, FROM YOUR LISTING OR BOOKING OF AN"
ACCOMMODATION VIA THE SITE, APPLICATION AND SERVICES, OR FROM THE USE OF OR INABILITY TO US
THE SITE, APPLICATION, SERVICES, OR COLLECTIVE CONTENT OR YOUR PARTICIPATION IN THE REFERRAL
PROGRAM AND IN CONNECTION WITH ANY ACCOMMODATION OR INTERACTIONS WITH ANY OTHER
MEMBERS, EXCEED THE AMOUNTS YOU HAVE PAID OR OWE FOR BOOKINGS VIA THE SITE, APPLICATION A
SERVICES AS A GUEST IN THE TWELVE (12) MONTH PERIOD PRIOR TO THE EVENT GIVING RISE TO THE
LIABILITY, OR IF YOU ARE A HOST, THE AMOUNTS PAID BY AIRBNB TO YOU IN THE TWELVE (12) MONTH
PERIOD PRIOR TO THE EVENT GIVING RISE TO THE LIABILITY, OR ONE HUNDRED U.S. DOLLARS (US$100), IF
NO SUCH PAYMENTS HAVE BEEN MADE, AS APPLICABLE. THE LIMITATIONS OF DAMAGES SET FORTH ABO'
ARE FUNDAMENTAL ELEMENTS OF THE BASIS OF THE BARGAIN BETWEEN AIRBNB AND YOU. SOME
JURISDICTIONS DO NOT ALLOW THE EXCLUSION OR LIMITATION OF LIABILITY FOR CONSEQUENTIAL OR
INCIDENTAL DAMAGES, SO THE ABOVE LIMITATION MAY NOT APPLY TO YOU.

Indemnification

You agree to release, defend, indemnify, and hold Aironb and its affiliates and subsidiaries, and their officers,
directors, employees and agents, harmless from and against any claims, liabilities, damages, losses, and expense
including, without limitation, reasonable legal and accounting fees, arising out of or in any way connected with (a)
access to or use of the Site, Application, Services, or Collective Content or your violation of these Terms; (b) your
Member Content; (c) your (i) interaction with any Member, (ii) Booking of an Accommodation, or (iii) creation of a
Listing; (d) the use, condition or Booking of an Accommodation by you, including but not limited to any injuries,
losses, or damages (compensatory, direct, incidental, consequential or otherwise) of any kind arising in connectior
with or as a result of a Booking or use of an Accommodation; and (e) your participation in the Referral Program or
accrual of any Airbnb Travel Credits.

Export Control and Restricted Countries

You may not use, export, re-export, import, or transfer the Application except as authorized by United States law,
laws of the jurisdiction in which you obtained the Application, and any other applicable laws. In particular, but with
limitation, the Application may not be exported or re-exported: (a) into any United States embargoed countries; or
to anyone on the U.S. Treasury Deparitment’s list of Specially Designated Nationals or the U.S. Department of
Commerce’s Denied Persons List or Entity List. By using the Site, Application and Services, you represent and wa
that (i) neither you nor your listed Accommodation is located in a country that is subject to a U.S. Government

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embargo, or that has been designated by the U.S. Government as a “terrorist supporting” country and (ii) you are
listed on any U.S. Government list of prohibited or restricted parties. You also will not use the Site, Application anc
Services for any purpose prohibited by U.S. law, including the development, design, manufacture or production of
missiles, or nuclear, chemical or biological weapons. Airbnb does not permit Listings associated with certain coun
due to U.S. embargo restrictions. In addition to complying with the above, you must also comply with any relevant
export control laws in your local jurisdiction.

Accessing and Downloading the Application from iTunes

The following applies to any Application accessed through or downloaded from the Apple App Store (“App Store
Sourced Application‘):

e You acknowledge and agree that (i) these Terms are concluded between you and Airbnb only, and not Apple, ¢
(ii) Airbnb, not Apple, is solely responsible for the App Store Sourced Application and content thereof. Your us:
the App Store Sourced Application must comply with the App Store Terms of Services.

oe You acknowledge that Apple has no obligation whatsoever to furnish any maintenance and support services w
respect to the App Store Sourced Application.

o In the event of any failure of the App Store Sourced Application to conform to any applicable warranty, you mé
notify Apple, and Apple will refund the purchase price for the App Store Sourced Application to you and to the
maximum extent permitted by applicable law, Apple will have no other warranty obligation whatsoever with
respect to the App Store Sourced Application. As between Airbnb and Apple, any other claims, losses, liabiliti
damages, costs or expenses attributable to any failure to conform to any warranty will be the sole responsibili
Aironb.

eo You and Airbnb acknowledge that, as between Airbnb and Apple, Apple is not responsible for addressing any
claims you have or any claims of any third party relating to the App Store Sourced Application or your possess
and use of the App Store Sourced Application, including, but not limited to: (i) product liability claims; (ii) any c
that the App Store Sourced Application fails to conform to any applicable legal or regulatory requirement; and
claims arising under consumer protection or similar legislation.

eo You and Airbnb acknowledge that, in the event of any third-party claim that the App Store Sourced Applicatior
your possession and use of that App Store Sourced Application infringes that third party’s intellectual property
rights, as between Airbnb and Apple, Aironb, not Apple, will be solely responsible for the investigation, defens
settlement and discharge of any such intellectual property infringement claim to the extent required by these
Terms.

oe You and Airbnb acknowledge and agree that Apple, and Apple’s subsidiaries, are third-party beneficiaries of tt
Terms as related to your license of the App Store Sourced Application, and that, upon your acceptance of the
terms and conditions of these Terms, Apple will have the right (and will be deemed to have accepted the right)
enforce these Terms as related to your license of the App Store Sourced Application against you as a third-pai
beneficiary thereof.

o Without limiting any other terms of these Terms, you must comply with all applicable third-party terms of
agreement when using the App Store Sourced Application.

30. Entire Agreement

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Except as they may be supplemented by a document referenced and incorporated herein or by additional Aironb

policies, guidelines, standards, or terms for a specific product, feature, service or offering, these Terms constitute
entire and exclusive understanding and agreement between Aironb and you regarding the Site, Application, Servic
Collective Content (excluding Payment Services), and any Bookings or Listings of Accommodations made via the
Application and Services (excluding Payment Services), and these Terms supersede and replace any and all prior |
or written understandings or agreements between Aironb and you regarding Bookings or listings of Accommodati:
the Site, Application, Services, and Collective Content (excluding Payment Services).

Assignment
You may not assign or transfer these Terms, by operation of law or otherwise, without Airbnb’s prior written conse!
Any attempt by you to assign or transfer these Terms, without such consent, will be null and of no effect. Airbnb mr

assign or transfer these Terms, at its sole discretion, without restriction. Subject to the foregoing, these Terms will
and inure to the benefit of the parties, their successors and permitted assigns.

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Notices

Any notices or other communications permitted or required hereunder, including those regarding modifications to
these Terms, will be in writing and given by Airbnb (i) via a Communication (in each case to the address or phone

number that you provide) or (ii) by posting to the Site or via the Application. For notices made via a Communicatio
the date of receipt will be deemed the date on which such notice is transmitted.

Controlling Law and Jurisdiction

These Terms and your use of the Services will be interpreted in accordance with the laws of the State of California
the United States of America, without regard to its conflict-of-law provisions. You and we agree to submit to the
personal jurisdiction of a state court located in San Francisco County, San Francisco, California or a United States
District Court, Northern District of California located in San Francisco, California for any actions for which the
parties retain the right to seek injunctive or other equitable relief in a court of competent jurisdiction to prevent tl
actual or threatened infringement, misappropriation or violation of a party’s copyrights, trademarks, trade secrets,
patents, or other intellectual property rights, as set forth in the Dispute Resolution provision below.

Dispute Resolution

If you reside in the United States, you and Airbnb agree that any dispute, claim or controversy arising out of or relé
to these Terms or the breach, termination, enforcement, interpretation or validity thereof, or to the use of the Servic
or use of the Site, Application or Collective Content (collectively, “Disputes‘“) will be settled by binding arbitration,
except that each party retains the right to seek injunctive or other equitable relief in a court of competent jurisdictir
to prevent the actual or threatened infringement, misappropriation or violation of a party’s copyrights, trademarks,
trade secrets, patents, or other intellectual property rights. You acknowledge and agree that you and Airbnb are ez
waiving the right to a trial by jury or to participate as a plaintiff or class member in any purported class action laws
class-wide arbitration, private attorney-general action, or any other representative proceeding. Further, unless bot!
you and Airbnb otherwise agree in writing, the arbitrator may not consolidate more than one person’s claims, and
not otherwise preside over any form of any class or representative proceeding. If this specific paragraph is held
unenforceable, then the entirety of this “Dispute Resolution” section will be deemed void. Except as provided in tr
preceding sentence, this “Dispute Resolution” section will survive any termination of these Terms.

Arbitration Rules and Governing Law. This agreement to arbitrate evidences a transaction in interstate commerce,
thus the Federal Arbitration Act governs the interpretation and enforcement of this provision. The arbitration will be
administered by the American Arbitration Association (“AAA‘) in accordance with the Consumer Arbitration Rules
“AAA Rules‘) then in effect, except as modified by this “Dispute Resolution” section. (The AAA Rules are available
at www.adrorg/arb_medor by calling the AAA at 1-800-778-7879.) The Federal Arbitration Act will govern the
interpretation and enforcement of this section.

Arbitration Process. A party who desires to initiate arbitration must provide the other party with a written Demand °
Arbitration as specified in the AAA Rules. (The AAA provides a form Demand for Arbitration.) The arbitrator will be
either a retired judge or an attorney licensed to practice law in the state of California and will be selected by the
parties from the AAA's roster of consumer dispute arbitrators. If the parties are unable to agree upon an arbitrator
within seven (7) days of delivery of the Demand for Arbitration, then the AAA will appoint the arbitrator in accordan
with the AAA Rules.

Arbitration Location and Procedure. Unless you and Airbnb otherwise agree, the arbitration will be conducted in tr
county where you reside. If your claim does not exceed $10,000, then the arbitration will be conducted solely on t
basis of documents you and Airbnb submit to the arbitrator, unless you request a hearing or the arbitrator determi
that a hearing is necessary. If your claim exceeds $10,000, your right to a hearing will be determined by the AAA
Rules. Subject to the AAA Rules, the arbitrator will have the discretion to direct a reasonable exchange of informat
by the parties, consistent with the expedited nature of the arbitration.

Arbitrator’s Decision. The arbitrator will render an award within the time frame specified in the AAA Rules. The

arbitrator’s decision will include the essential findings and conclusions upon which the arbitrator based the award.
Judgment on the arbitration award may be entered in any court having jurisdiction thereof. The arbitrator’s award

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damages must be consistent with the terms of the “Limitation of Liability” section above as to the types and the
amounts of damages for which a party may be held liable. The arbitrator may award declaratory or injunctive relief
only in favor of the claimant and only to the extent necessary to provide relief warranted by the claimant’s individu
claim. If you prevail in arbitration you will be entitled to an award of attorneys’ fees and expenses, to the extent
provided under applicable law. Aironb will not seek, and hereby waives all rights it may have under applicable law
recover, attorneys’ fees and expenses if it prevails in arbitration.

Fees. Your responsibility to pay any AAA filing, administrative and arbitrator fees will be solely as set forth in the Av
Rules. However, if your claim for damages does not exceed $75,000, Airbnb will pay all such fees unless the arbitr
finds that either the substance of your claim or the relief sought in your Demand for Arbitration was frivolous or we
brought for an improper purpose (as measured by the standards set forth in Federal Rule of Civil Procedure 11(b)).

Changes. Notwithstanding the provisions of the “Modification” section above, if Aironb changes this “Dispute
Resolution” section after the date you last accepted these Terms (or accepted any subsequent changes to these
Terms), you may reject any such change by sending us written notice (including by email) within 30 days of the dai
such change became effective, as indicated in the “Last Updated” date above or in the date of Airbnb’s email to y
notifying you of such change. By rejecting any change, you are agreeing that you will arbitrate any Dispute betwee
you and Airbnb in accordance with the provisions of this “Dispute Resolution” section as of the date you last
accepted these Terms (or accepted any subsequent changes to these Terms).

General

The failure of Aironb to enforce any right or provision of these Terms will not constitute a waiver of future enforcerr
of that right or provision. The waiver of any such right or provision will be effective only if in writing and signed by :
duly authorized representative of Aironb. Except as expressly set forth in these Terms, the exercise by either party
any of its remedies under these Terms will be without prejudice to its other remedies under these Terms or otherwi
If for any reason an arbitrator or a court of competent jurisdiction finds any provision of these Terms invalid or
unenforceable, that provision will be enforced to the maximum extent permissible and the other provisions of thes
Terms will remain in full force and effect.

Third party beneficiary

These Terms do not and are not intended to confer any rights or remedies upon any person other than the parties.
Additional Clauses for Users Contracting with Airbnb Ireland

The following paragraphs will apply if you are contracting with Airbnb Ireland.

The second paragraph of Section 24.D, Term and Termination, Suspension and Other Measures, shall be remo
and replaced with the following: “/f you or we terminate this Agreement, we do not have an obligation to return to j
any of your Member Content, including but not limited to any reviews or Feedback. When this Agreement has beer
terminated, you are not entitled to a restoration of your Airbnb Account or any of your Member Content. If your acc
to or use of the Site, Application and Services has been limited or your Airbnb Account has been suspended or thi
Agreement has been terminated by us, you may not register a new Airbnb Account or attempt to access and use ti
Site, Application and Services through other Airbnb Accounts.”

The Controlling Law and Jurisdiction section shall be removed and replaced with the following: “Controlling La
and Jurisdiction These Terms will be interpreted in accordance with Irish law. You and we agree to submit to the r
exclusive jurisdiction of the Irish courts for resolving any dispute between the parties. If Airbnb wishes to enforce a.
of its rights against you, we may elect to do so in the Irish courts or in the courts of the jurisdiction in which you are
resident.”

The Dispute Resolution section shall be removed and is not applicable.

Additional Clauses for Users Contracting with Airbnb China

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The following paragraphs will apply if you are contracting with Airbnb China

The Controlling Law and Jurisdiction section shall be removed and replaced with the following: “Controlling La
and Jurisdiction These Terms will be governed by and construed in accordance with the laws of China (“China
Laws”). Any dispute arising from or in connection with this Agreement shall be submitted to the China Internationa
Economic and Trade Arbitration Commission (CIETAC) for arbitration in Beijing which shall be conducted in
accordance with CIETAC’s arbitration rules in effect at the time of applying for arbitration, provided that this sectior
shall not be construed to limit any rights which Airbnb may have to apply to any court of competent jurisdiction for
order requiring you to perform or be prohibited from performing certain acts and other provisional relief permitted
under China Laws or any other laws that may apply to you. The arbitration proceedings shall be conducted in Engli
The arbitral award rendered is final and binding upon both parties.”

The Dispute Resolution section shall be removed and is not applicable.
Contacting Airbnb

If you have any questions about these Terms or any App Store Sourced Application, please contact Airbnb.

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Terms of Service

Please read these Terms of Service carefully as they contain important information about your legal
rights, remedies and obligations. By accessing or using the Airbnb Platform, you agree to comply with
and be bound by these Terms of Service.

Please note: Section 19 of these Terms of Service contains an arbitration clause and class action
waiver that applies to all Airbnb Members. If you reside in the United States, this provision applies to
all disputes with Airbnb. If you reside outside of the United States, this provision applies to any action
you bring against Airbnb in the United States. It affects how disputes with Airbnb are resolved. By
accepting these Terms of Service, you agree to be bound by this arbitration clause and class action
waiver. Please read it carefully.

Last Updated: June 19, 2017
Thank you for using Airbnb!

These Terms of Service ("Terms") constitute a legally binding agreement ("Agreement") between you and Airbnb (as
defined below) governing your access to and use of the Airbnb website, including any subdomains thereof, and any ot
websites through which Airobnb makes the Aironb Services available (collectively, "Site"), our mobile, tablet and other
smart device applications, and application program interfaces (collectively, "Application") and all associated services
(collectively, "Airbnb Services"). The Site, Application and Aironb Services together are hereinafter collectively referre:
as the “Airbnb Platform”. Our Host Guarantee Terms, Guest Refund Policy, Nondiscrimination Policy and

other Policies applicable to your use of the Aironb Platform are incorporated by reference into this Agreement.

When these Terms mention “Airbnb,” “we,” “us,” or “our,” it refers to the Aironb company you are contracting with.

e If you reside in the United States, you are contracting with Airbnb, Inc., 888 Brannan Street, 4th Floor, San Francis
CA 94103, United States.

e If you reside outside of the United States and the People’s Republic of China (which for purposes of these Terms ¢
not include Hong Kong, Macau and Taiwan) (hereinafter “China”), you are contracting with Airbnb Ireland UC (“Air
Ireland”), The Watermarque Building, South Lotts Road, Ringsend, Dublin 4, Ireland.

e If you reside in China, you are contracting with Airbnb Internet (Beijing) Co., Ltd. (“Airbnb China”) except where yc
book a Host Service (as defined below) or when you create a Listing located outside of China, in which case you é
contracting with Airbnb Ireland for that transaction. Additionally, if your contracting entity is Airobnb China, you will
nevertheless contract with Airbnb Ireland for all bookings confirmed prior to December 7, 2016 at 10:00am UTC.

If you change your place of residence, the Airbnb company you contract with will be determined by your new place of
residence as specified above, from the date on which your place of residence changes.

Our collection and use of personal information in connection with your access to and use of the Aironb Platform is
described in our Privacy Policy.

Any and all payment processing services through or in connection with your use of the Airbnb Platform ("Payment
Services") are provided to you by one or more Airbnb Payments entities (individually and collectively, as appropriate,
"Airbnb Payments") as set out in the Payments Terms of Service ("Payments Terms’).

Hosts alone are responsible for identifying, understanding, and complying with all laws, rules and regulations
that apply to their Listings and Host Services. For example, some cities have laws that restrict their ability to
host paying guests for short periods or provide certain Host Services. In many cities, Hosts may have to
register, get a permit or obtain a license before preparing food or serving alcohol for sale. Some cities may
require a license to guide tours or to sail. Host are alone responsible for identifying and obtaining any

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required licenses, permits, or registrations for any Host Services they offer. Certain types of Host Services
may be prohibited altogether. Penalties may include fines or other enforcement. We provide some information
in our Help Center to help you identify some of the obligations that apply to you. If you have questions about
how local laws apply to your Listing(s) and Host Service(s) on Aironb, you should always seek legal guidance.

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1. Scope of Airbnb Services

1.1 The Aironb Platform is an online marketplace that enables registered users (“Members”) and certain third parties \
offer services (Members and third parties who offer services are “Hosts” and the services they offer are “Host Service
to publish such Host Services on the Airbnb Platform (“Listings”) and to communicate and transact directly with
Members that are seeking to book such Host Services (Members using Host Services are “Guests”). Host Services m
include the offering of vacation or other properties for use ("Accommodations"), single or multi-day activities in variot
categories (“Experiences”), access to unique events and locations (“Events”), and a variety of other travel and non-ir.
related services.

1.2 As the provider of the Airbnb Platform, Aironb does not own, create, sell, resell, provide, control, manage, offer, de
or supply any Listings or Host Services. Hosts alone are responsible for their Listings and Host Services. Wnen Memb
make or accept a booking, they are entering into a contract directly with each other. Aironb is not and does not becon
party to or other participant in any contractual relationship between Members, nor is Airbnb a real estate broker or ins!
Airbnb is not acting as an agent in any capacity for any Member, except as specified in the Payments Terms.

1.3 While we may help facilitate the resolution of disputes, Airbnb has no control over and does not guarantee (i) the
existence, quality, safety, suitability, or legality of any Listings or Host Services, (ii) the truth or accuracy of any Listing
descriptions, Ratings, Reviews, or other Member Content (as defined below), or (iii) the performance or conduct of any
Member or third party. Aironb does not endorse any Member, Listing or Host Services. Any references to a Member be
"verified" (or similar language) only indicate that the Member has completed a relevant verification or identification
process and nothing else. Any such description is not an endorsement, certification or guarantee by Airobnb about any
Member, including of the Member's identity or background or whether the Member is trustworthy, safe or suitable. You
should always exercise due diligence and care when deciding whether to stay in an Accommodation, participate in an
Experience or Event or use other Host Services, accept a booking request from a Guest, or communicate and interact

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with other Members, whether online or in person. Verified Images (as defined below) are intended only to indicate a
photographic representation of a Listing at the time the photograph was taken, and are therefore not an endorsement
Aironb of any Host or Listing.

1.4 If you choose to use the Airbnb Platform as a Host or Co-Host (as defined below), your relationship with Aironb is
limited to being an independent, third-party contractor, and not an employee, agent, joint venturer or partner of Airbnb
any reason, and you act exclusively on your own behalf and for your own benefit, and not on behalf, or for the benefit,
Airbnb.

1.5 To promote the Aironb Platform and to increase the exposure of Listings to potential Guests, Listings and other
Member Content may be displayed on other websites, in applications, within emails, and in online and offline
advertisements. To assist Members who speak different languages, Listings and other Member Content may be
translated, in whole or in part, into other languages. Airbnb cannot guarantee the accuracy or quality of such translatic
and Members are responsible for reviewing and verifying the accuracy of such translations. The Airbnb Platform may
contain translations powered by Google. Google disclaims all warranties related to the translations, express or impliea
including any warranties of accuracy, reliability, and any implied warranties for merchantability, fitness for a particular
purpose and noninfringement.

1.6 The Aironb Platform may contain links to third-party websites or resources (“Third-Party Services”). Such Third-F
Services may be subject to different terms and conditions and privacy practices. Aironb is not responsible or liable for
availability or accuracy of such Third-Party Services, or the content, products, or services available from such Third-P;
Services. Links to such Third-Party Services are not an endorsement by Airbnb of such Third-Party Services.

1.7 Due to the nature of the Internet, Airobno cannot guarantee the continuous and uninterrupted availability and
accessibility of the Aironb Platform. Aironb may restrict the availability of the Aironb Platform or certain areas or featur
thereof, if this is necessary in view of capacity limits, the security or integrity of our servers, or to carry out maintenanc
measures that ensure the proper or improved functioning of the Aironb Platform. Airbnb may improve, enhance and
modify the Airbnb Platform and introduce new Airbnb Services from time to time.

2. Eligibility, Using the Airbnb Platform, Member Verification

2.1 You must be at least 18 years old and able to enter into legally binding contracts to access and use the Airbonb
Platform or register an Aironb Account. By accessing or using the Airbnb Platform you represent and warrant that you
18 or older and have the legal capacity and authority to enter into a contract.

2.2 You will comply with any applicable export control laws in your local jurisdiction. You also represent and warrant tr
neither you nor your Host Service(s) are located or take place in a country that is subject to a U.S. Government embar
or that has been designated by the U.S. Government as a "terrorist supporting" country, and (ii) you are not listed on 2
U.S. Government list of prohibited or restricted parties.

2.3 Airobnb may make the access to and use of the Airbnb Platform, or certain areas or features of the Airbnb Platform,
subject to certain conditions or requirements, such as completing a verification process, meeting specific quality or
eligibility criteria, meeting Ratings or Reviews thresholds, or booking and cancellation history.

2.4 User verification on the Internet is difficult and we do not assume any responsibility for the confirmation of any
Member’s identity. Notwithstanding the above, for transparency and fraud prevention purposes, and as permitted by
applicable laws, we may, but have no obligation to (i) ask Members to provide a form of government identification or o
information or undertake additional checks designed to help verify the identities or backgrounds of Members, (ii) scree
Members against third party databases or other sources and request reports from service providers, and (iii) where we
have sufficient information to identify a Member, obtain reports from public records of criminal convictions or sex offer
registrations or an equivalent version of background or registered sex offender checks in your local jurisdiction (if
available).

2.5 The access to or use of certain areas and features of the Airbnb Platform may be subject to separate policies,
standards or guidelines, or may require that you accept additional terms and conditions. If there is a conflict between

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these Terms and terms and conditions applicable to a specific area or feature of the Airbnb Platform, the latter terms <
conditions will take precedence with respect to your access to or use of that area or feature, unless specified otherwis

2.6 If you access or download the Application from the Apple App Store, you agree to Apple’s Licensed Application Er
User License Agreement. Some areas of the Airbnb Platform implement Google Maps/Earth mapping services, includi
Google Maps API(s). Your use of Google Maps/Earth is subject to the Google Maps/Google Earth Additional Terms of
Service.

3. Modification of these Terms

Airbnb reserves the right to modify these Terms at any time in accordance with this provision. If we make changes to
these Terms, we will post the revised Terms on the Airobnb Platform and update the “Last Updated” date at the top of
these Terms. We will also provide you with notice of the modifications by email at least thirty (30) days before the date
they become effective. If you disagree with the revised Terms, you may terminate this Agreement with immediate effec
We will inform you about your right to terminate the Agreement in the notification email. If you do not terminate your
Agreement before the date the revised Terms become effective, your continued access to or use of the Aironb Platforr
will constitute acceptance of the revised Terms.

4. Account Registration

4.1 You must register an account ("Airbnb Account") to access and use certain features of the Airbnb Platform, such
publishing or booking a Listing. If you are registering an Airobnb Account for a company or other legal entity, you repres
and warrant that you have the authority to legally bind that entity and grant us all permissions and licenses provided ir
these Terms.

4.2 You can register an Airbnb Account using an email address and creating a password, or through your account witt
certain third-party social networking services, such as Facebook or Google ("SNS Account"). You have the ability to
disable the connection between your Aironb Account and your SNS Account at any time, by accessing the "Settings"
section of the Airbnb Platform.

4.3 You must provide accurate, current and complete information during the registration process and keep your Airbnt
Account and public Airobnb Account profile page information up-to-date at all times.

4.4 You may not register more than one (1) Airbnb Account unless Aironb authorizes you to do so. You may not assign
otherwise transfer your Aironb Account to another party.

4.5 You are responsible for maintaining the confidentiality and security of your Airobnb Account credentials and may no
disclose your credentials to any third party. You must immediately notify Airbnb if you know or have any reason to sus|
that your credentials have been lost, stolen, misappropriated, or otherwise compromised or in case of any actual or
suspected unauthorized use of your Aironb Account. You are liable for any and all activities conducted through your
Aironb Account, unless such activities are not authorized by you and you are not otherwise negligent (such as failing t
report the unauthorized use or loss of your credentials).

4.6 Airobnb may enable features that allow you to authorize other Members or certain third parties to take certain actior
that affect your Airobnb Account. For example, we may allow Members associated with an Enterprise (as defined in our
Privacy Policy) to book for other Members, or we may allow Hosts to add other Members as Co-Hosts (as defined bel
to help manage their Listings. These features do not require that you share your credentials with any other person. No
third party is authorized by Aironb to ask for your credentials, and you shall not request the credentials of another
Member.

5. Content

5.1 Aironb may, at its sole discretion, enable Members to (i) create, upload, post, send, receive and store content, suc
text, photos, audio, video, or other materials and information on or through the Aironb Platform ("Member Gontent');

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(ii) access and view Member Content and any content that Airbnb itself makes available on or through the Airbnb Platt
including proprietary Airobnb content and any content licensed or authorized for use by or through Airbnb from a third
("Airbnb Content” and together with Member Content, "Collective Content").

5.2 The Airbnb Platform, Airbnb Content, and Member Content may in its entirety or in part be protected by copyright,
trademark, and/or other laws of the United States and other countries. You acknowledge and agree that the Airbnb
Platform and Aironb Content, including all associated intellectual property rights, are the exclusive property of Airobnb
and/or its licensors or authorizing third-parties. You will not remove, alter or obscure any copyright, trademark, service
mark or other proprietary rights notices incorporated in or accompanying the Airpnb Platform, Airobnb Content or Mem
Content. All trademarks, service marks, logos, trade names, and any other source identifiers of Aironb used on or in
connection with the Airobnb Platform and Airobnb Content are trademarks or registered trademarks of Airbnb in the Unit
States and abroad. Trademarks, service marks, logos, trade names and any other proprietary designations of third par
used on or in connection with the Aironb Platform, Airobnb Content, and/or Collective Content are used for identificatio
purposes only and may be the property of their respective owners.

5.3 You will not use, copy, adapt, modify, prepare derivative works of, distribute, license, sell, transfer, publicly display,
publicly perform, transmit, broadcast or otherwise exploit the Aironb Platform or Collective Content, except to the exte
you are the legal owner of certain Member Content or as expressly permitted in these Terms. No licenses or rights are
granted to you by implication or otherwise under any intellectual property rights owned or controlled by Airbnb or its
licensors, except for the licenses and rights expressly granted in these Terms.

5.4 Subject to your compliance with these Terms, Airbnb grants you a limited, non-exclusive, non-sublicensable,
revocable, non-transferable license to (i) download and use the Application on your personal device(s); and (ii) access
view any Collective Content made available on or through the Airobnb Platform and accessible to you, solely for your
personal and non-commercial use.

5.5 By creating, uploading, posting, sending, receiving, storing, or otherwise making available any Member Content or
through the Airbnb Platform, you grant to Aironb a non-exclusive, worldwide, royalty-free, irrevocable, perpetual (or fo
term of the protection), sub-licensable and transferable license to such Member Content to access, use, store, copy,
modify, prepare derivative works of, distribute, publish, transmit, stream, broadcast, and otherwise exploit in any man
such Member Content to provide and/or promote the Airbnb Platform, in any media or platform. Unless you provide
specific consent, Airobnb does not claim any ownership rights in any Member Content and nothing in these Terms will |
deemed to restrict any rights that you may have to use or exploit your Member Content.

5.6 Airobnb may offer Hosts the option of having professional photographers take photographs of their Host Services,
which are made available by the photographer to Hosts to include in their Listings with or without a watermark or tag
bearing the words "Aironb.com Verified Photo" or similar wording ("Verified Images"). You are responsible for ensurin
that your Host Service is accurately represented in the Verified Images and you will stop using the Verified Images on ¢
through the Aironb Platform if they no longer accurately represent your Listing, if you stop hosting the Host Service
featured, or if your Aironb Account is terminated or suspended for any reason. You acknowledge and agree that Airbn
shall have the right to use any Verified Images in advertising, marketing and/or any other business purposes in any me
or platform, whether in relation to your Listing or otherwise, without further notice or compensation to you. Where Airb
is not the exclusive owner of Verified Images, by using such Verified Images on or through the Airbnb Platform, you gri
to Airbnb an exclusive, worldwide, royalty-free, irrevocable, perpetual (or for the term of the protection), sub-licensable
and transferable license to use such Verified Images for advertising, marketing and/or any other business purposes in
media or platform, whether in relation to your Listing or otherwise, without further notice or compensation to you. Airb
in turn grants you a limited, non-exclusive, non-sublicensable, revocable, non-transferable license to use Verified Imac
outside of the Aironb Platform solely for your personal and non-commercial use.

5.7 You are solely responsible for all Member Content that you make available on or through the Aironb Platform.
Accordingly, you represent and warrant that: (i) you either are the sole and exclusive owner of all Member Content thai
make available on or through the Aironb Platform or you have all rights, licenses, consents and releases that are
necessary to grant to Airbnb the rights in and to such Member Content, as contemplated under these Terms; and (ii)
neither the Member Content nor your posting, uploading, publication, submission or transmittal of the Member Conier
Aironb's use of the Member Content (or any portion thereof) will infringe, misappropriate or violate a third party's pate!

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copyright, trademark, trade secret, moral rights or other proprietary or intellectual property rights, or rights of publicity
privacy, or result in the violation of any applicable law or regulation.

5.8 You will not post, upload, publish, submit or transmit any Member Content that: (i) is fraudulent, false, misleading
(directly or by omission or failure to update information) or deceptive; (ii) is defamatory, libelous, obscene, pornograph
vulgar or offensive; (iii) promotes discrimination, bigotry, racism, hatred, harassment or harm against any individual or
group; (iv) is violent or threatening or promotes violence or actions that are threatening to any other person; (v) promot
illegal or harmful activities or substances; or (vi) violates Aironb’s Content Policy or any other Airbnb policy. Aironb ma
without prior notice, remove or disable access to any Member Content that Airbnb finds to be in violation of these Tert
or Airbnb’s then-current Policies or Standards, or otherwise may be harmful or objectionable to Airbnb, its Members, t
parties, or property.

5.9 Aironb respects copyright law and expects its Members to do the same. If you believe that any content on the Airt
Platform infringes copyrights you own, please notify us in accordance with our Copyright Policy.

6. Service Fees

6.1 Airobnb may charge fees to Hosis ("Host Fees") and/or Guests ("Guest Fees") (collectively, "Service Fees") in
consideration for the use of the Airbnb Platform. More information about when Service Fees apply and how they are
calculated can be found on our Service Fees page.

6.2 Any applicable Service Fees (including any applicable Taxes) will be displayed to a Host or Guest prior to publishir
booking a Listing. Aironb reserves the right to change the Service Fees at any time, and we will provide Members
adequate notice of any fee changes before they become effective.

6.3 You are responsible for paying any Service Fees that you owe to Airbnb. The applicable Service Fees are due and
payable and collected by Aironb Payments pursuant to the Payments Terms. Except as otherwise provided on the Airt
Platform, Service Fees are non-refundable.

7. Terms specific for Hosts

7.1 Terms applicable to all Listings

7.1.1 When creating a Listing through the Aironb Platform you must (i) provide complete and accurate information aba
your Host Service (such as listing description, location, and calendar availability), (ii) disclose any deficiencies, restricti
(such as house rules) and requirements that apply (such as any minimum age, proficiency or fitness requirements for 2
Experience) and (iii) provide any other pertinent information requested by Airobnb. You are responsible for keeping your
Listing information (including calendar availability) up-to-date at all times.

7.1.2 You are solely responsible for setting a price (including any Taxes if applicable) for your Listing (“Listing Fee”). O
a Guest requests a booking of your Listing, you may not request that the Guest pays a higher price than in the bookin
request.

7.1.3 Any terms and conditions included in your Listing, in particular in relation to cancellations, must not conflict with
these Terms or the cancellation policy you have selected for your Listing.

7.1.4 Pictures, animations or videos (collectively, "Images") used in your Listings must accurately reflect the quality ar
condition of your Host Services. Airbnb reserves the right to require that Listings have a minimum number of Images c
certain format, size and resolution.

7.1.5 The placement and ranking of Listings in search results on the Aironb Platform may vary and depend on a variet
factors, such as Guest search parameters and preferences, Host requirements, price and calendar availability, number
and quality of Images, customer service and cancellation history, Reviews and Ratings, type of Host Service, and/or e
of booking.

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7.1.6 When you accept or have pre-approved a booking request by a Guest, you are entering into a legally binding
agreement with the Guest and are required to provide your Host Service(s) to the Guest as described in your Listing w
the booking request is made. You also agree to pay the applicable Host Fee and any applicable Taxes, which will be
collected pursuant to the Payments Terms.

7.1.7 Airbnb recommends that Hosts obiain appropriate insurance for their Host Services. Please review any respectiv
insurance policy carefully, and in particular make sure that you are familiar with and understand any exclusions to, anc
deductibles that may apply for, such insurance policy, including, but not limited to, whether or not your insurance polic
will cover the actions or inactions of Guests (and the individuals the Guest has booked for, if applicable) while staying
your Accommodation or participating in your Experience, Event or other Host Service.

7.2 Listing Accommodations

7.2.1 You may only list one Accommodation per Listing.

7.2.2 If you choose to require a security deposit for your Accommodation, you must specify this in your Listing ("Secu
Deposit"). Hosts are not allowed to ask for a Security Deposit after a booking has been confirmed or outside of the Ai
Platform. Aironb will use commercially reasonable efforts to address Hosts’ requests and claims related to Security

Deposits, but Airbnb is not responsible for administering or accepting any claims by Hosis related to Security Deposit:

7.2.3 You represent and warrant that any Listing you post and the booking of, or a Guest's stay at, an Accommodatior
(i) not breach any agreements you have entered into with any third parties, such as homeowners association,
condominium, or other agreemenis, and (ii) comply with all applicable laws (such as zoning laws), Tax requirements, al
other rules and regulations (including having all required permits, licenses and registrations). As a Host, you are
responsible for your own acts and omissions and are also responsible for the acts and omissions of any individuals wt
reside at or are otherwise present at the Accommodation at your request or invitation, excluding the Guest (and the
individuals the Guest invites to the Accommodation, if applicable).

7.3 Listing Experiences, Events and other Host Services

7.3.1 To list an Experience, Event or other Host Service, you must create a Listing and submit the Experience, Event 0
Host Service to Airbnb. To be considered for publishing on the Airbnb Platform, Experiences, Events or other Host
Services must at all times meet the quality standards for Experiences and meet Guest demand. Airbnb reserves the ric
to decide, in its sole discretion, if a submitted Experience, Event or other Host Service will be published on the Aironb
Platform.

7.3.2 When listing an Experience, Event or other Host Service you must, where applicable, fully educate and inform
Guests about (i) any risks inherent to the Experience, Event or other Host Service, (ii) any requirements for participatio!
such as the minimum age, related skills, level of fitness or other requirements, and (iii) anything else they may need to
know to safely participate in the Experience, Event or other Host Service (including dress codes, equipment, special
certifications or licenses, etc.).

7.3.3 If you wish to list an Experience on behalf of a Nonprofit (“Social Impact Experience”), you must comply with
the eligibility requirements for hosting a Social Impact Experience. When listing a Social Impact Experience you (i)
represent and warrant that you are duly authorized to act on behalf of your Nonprofit and (ii) acknowledge and agree t!
all payouts will be directed to an account owned by your Nonprofit. You and your Nonprofit acknowledge that listing a
Social Impact Experience does not create a commercial fundraising or co-venturer, or charitable trust relationship witr
Airbnb and Airbnb is not a professional fundraiser or commercial participator. Nonprofits, and not Aironb, are responsi
for determining what, if any, portion of their Listing Fee is a charitable contribution and for providing Guests charitable
receipts for any applicable charitable contributions. You and your Nonprofit are solely responsible for complying with <
laws that apply to your organization and your Social Impact Experience.

7.3.4 You represent and warrant that you (i) understand and comply with all laws, rules and regulations that may apply
your Experience, Event or other Host Service(s), and (ii) will obtain any required licenses, permits, or registrations prior

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providing your Experience, Event or other Host Service(s). You can find additional information about some of the legal
obligations that may apply to you on our Responsible Hosting pages.

7.3.5 You must provide an Experience, Event or other Host Service in person and may not allow any third party to pro\
the Experience, Event or other Host Service on your behalf, unless authorized by Airbnb.

7.4 Co-Hosts

7.4.1 Airobnb may enable Hosts to authorize other Members (“Co-Hosts”) to administer the Host’s Listing(s), and to bir
the Host and take certain actions in relation to the Listing(s) as permitted by the Host, such as accepting booking
requests, messaging and welcoming Guests, and updating the Listing Fee and calendar availability (collectively, “Co-t
Services”). Any agreement formed between Host and Co-Host may not conflict with these Terms and the Payments
Terms. Co-Hosts may only act in an individual capacity and not on behalf of a company or other organization, unless
expressly authorized by Airbnb. Airbnb reserves the right, in our sole discretion, to limit the number of Co-Hosts a Hos
may invite for each Listing and to limit the number of Listings a Co-Host may manage.

7.4.2 Hosts and Co-Hosts may agree on a fee (“Co-Host Services Fee”) in consideration for the Co-Host Services
provided by the Co-Host. When such an agreement is made, the Host agrees to pay the Co-Host Services Fee for any
confirmed booking of their Listing, which will be deducted directly from the Listing Fee after deduction of any applicak
Host Fee. In addition, Hosts may instruct a Co-Host to provide certain one-time services in relation to their Listing. Ho
can pay Co-Hosts for one-time services and any other expenses using the Resolution Center. Airobnb Payments will
process Co-Host Services Fees and Resolution Center payments pursuant to the Payments Terms.

7.4.3 Hosts and Co-Hosis agree that each activity, booking, or other transaction reported on the Airbnb Platform,
including any Co-Host Services provided by the Co-Host and any amounts due from a Host to the Co-Hosi for the
provision of such services, will be deemed accurate, correct and binding, unless challenged, by notifying the other pel
and Airbnb (by emailing host-exp@airbnb.com), within 21 days of posting of the disputed activity, booking or other
transaction on the Airbnb Platform.

7.4.4 Hosts should exercise due diligence and care when deciding who to add as a Co-Host to their Listing(s). Hosts
remain solely responsible and liable for any and all Listings and Member Content published on the Airbnb Platform,
including any Listing created by a Co-Host on their behalf. Further, Hosts remain responsible and liable for their own a
and omissions, including, but not limited to, conduct that causes harm or damage to the Co-Hosi(s). Co-Hosts remair
responsible and liable for their own acts and omissions when engaging in their roles and responsibilities as a Co-Host
including, but not limited to, conduct that causes harm or damage to the Host. In addition, both Host and Co-Host are
jointly responsible and severally liable for third party claims, including Guest claims, arising from the acts and omissio!
the other person as related to hosting activities, communications with Guests, and the provision of any Co-Host Servi

7.4.5 Unless agreed otherwise by Host and Co-Host, Host and Co-Host may terminate the Co-Host agreement at any
time. In addition, both Host and Co-Host acknowledge that their Co-hosting relationship will terminate in the event thé
Airbnb (i) terminates the Co-Host service or (ii) terminates either party’s participation in the Co-Host service. When the
Host agreement is terminated, the Host will remain responsible for all of the Co-Host’s actions prior to the termination,
including the responsibility to fulfill any pending or future bookings initiated prior to the termination. When a Member i:
removed as a Co-Host, that Member will no longer have access to any Hosi or Guest information related to the applic
Host’s Listing(s). In addition, Host agrees to pay Co-Host for all Co-Host Services completed prior to Co-Host’s
termination within 14 days of Co-Host’s termination via the Resolution Center. A Co-Host will not be entitled to any fee
for any Co-Host Services that have not been completed prior to the Co-Host’s termination.

7.4.6 As a Co-Host, you will not be reviewed by Guests, meaning that your Co-Host activities will not affect your Revie
or Ratings for other Listings for which you are a Host. Instead, the Host of such Listing(s) will be reviewed by Guests

(including potentially on the basis of the Co-Host’s conduct and performance). Hosts acknowledge that Reviews and
Ratings from Guests for their Listing(s) may be impacted by a Co-Hosi’s conduct and performance.

8. Terms specific for Guests

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8.1 Terms applicable to all bookings

8.1.1 Subject to meeting any requirements (Such as completing any verification processes) set by the Host, you can bi
a Listing available on the Aironb Platform by following the respective booking process. All applicable fees, including tr
Listing Fee, Security Deposit (if applicable), Guest Fee and any applicable Taxes (collectively, “Total Fees”) will be
presented to you prior to booking a Listing. You agree to pay the Total Fees for any booking requested in connection v
your Aironb Account.

8.1.2 Upon receipt of a booking confirmation from Aironb, a legally binding agreement is formed between you and you
Host, subject to any additional terms and conditions of the Host that apply, including in particular the applicable
cancellation policy and any rules and restrictions specified in the Listing. Airbnb Payments will collect the Total Fees a
time of the booking request or upon the Host’s confirmation pursuant to the Payments Terms.

8.1.3 If you book a Host Service on behalf of additional guests, you are required to ensure that every additional guest
meets any requirements set by the Host, and is made aware of and agrees to these Terms and any terms and conditio
rules and restrictions set by the Host. If you are booking for an additional guest who is a minor, you represent and war
that you are legally authorized to act on behalf of the minor. Minors may only participate in an Experience, Event or ott
Host Service if accompanied by an adult who is responsible for them.

8.2 Booking Accommodations

8.2.1 You understand that a confirmed booking of an Accommodation (“Accommodation Booking”) is a limited licen:
granted to you by the Host to enter, occupy and use the Accommodation for the duration of your stay, during which ti!
the Host (only where and to the extent permitted by applicable law) retains the right to re-enter the Accommodation, ir
accordance with your agreement with the Host.

8.2.2 You agree to leave the Accommodation no later than the checkout time that the Host specifies in the Listing or s
other time as mutually agreed upon between you and the Host. If you stay past the agreed upon checkout time withot
the Host's consent (“Overstay”), you no longer have a license to stay in the Accommodation and the Host is entitled t
make you leave in a manner consistent with applicable law. In addition, you agree to pay, if requested by the Host, for
each twenty-four (24) hour period (or any portion thereof) that you Overstay, an additional nightly fee of up to two (2) ti
the average nightly Listing Fee originally paid by you to cover the inconvenience suffered by the Host, plus all applicat
Guest Fees, Taxes, and any legal expenses incurred by the Host to make you leave (collectively, "Overstay Fees").
Overstay Fees for late checkouts on the checkout date that do not impact upcoming bookings may be limited to the
additional costs incurred by the Host as a result of such Overstay. Airbnb Payments will collect Overstay Fees from yo
pursuant to the Payments Terms. A Security Deposit, if required by a Host, may be applied to any Overstay Fees due |
Guest’s Overstay.

8.3 Booking Experiences, Events and other Host Services

8.3.1 You should carefully review the description of any Experience, Event or other Host Service you intend to book to
ensure you (and any additional guests you are booking for) meet any minimum age, proficiency, fitness or other
requirements which the Host has specified in their Listing. You are required to inform the Host of any medical or physi
conditions, or other circumstances that may impact your and any additional guest’s ability to safely participate in any
Experience, Event or other Host Service. In addition, certain laws, like the minimum legal drinking age in the location c
the Experience, Event or other Host Service, may also apply. You are responsible for identifying, understanding, and
complying with all laws, rules and regulations that apply to your participation in an Experience, Event or other Host
Service.

8.3.2 Before and during an Experience, Event or other Host Service you must at all times adhere to the Hosts’
instructions.

8.3.3 You may not bring any additional individuals to an Experience, Event or other Host Service unless such an indivic
was added by you as an additional guest during the booking process on the Aironb Platform.

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9. Booking Modifications, Cancellations and Refunds, Resolution Center

9.1 Hosts and Guests are responsible for any modifications to a booking that they make via the Aironb Platform or dire
Aironb customer service to make ("Booking Modifications"), and agree to pay any additional Listing Fees, Host Fees
Guest Fees and/or Taxes associated with such Booking Modifications.

9.2 Guests can cancel a confirmed booking at any time subject to the Listing’s cancellation policy, and Airbnb Paymer
will provide any refund to the Guest in accordance with such cancellation policy. Unless extenuating circumstances ex
any amounts due to the Host under the applicable cancellation policy will be remitted to the Host by Airobnb Payments
pursuant to the Payments Terms.

9.3 If a Host cancels a confirmed booking, the Guest will receive a full refund of the Total Fees for such booking and
Airbnb may publish an automated review on the Listing cancelled by the Host indicating that a booking was cancelled
addition, Airbnb may (i) keep the calendar for the Listing unavailable or blocked for the dates of the cancelled booking
and/or (ii) impose a cancellation fee, unless the Host has a valid reason for cancelling the booking pursuant to Airbnb’:
Extenuating Circumstances Policy or has legitimate concerns about the Guesi’s behavior.

9.4 For Experiences, Events and other Host Services, if inclement weather creates an unsafe or uncomfortable scenar
for Guests, Hosts may modify or cancel a Host Service. If there is a substantial change in the itinerary or the Host Sen
needs to be cancelled, Aironb will work with the Host to provide Guests an alternative date for the Host Service, an
appropriate refund or a rebooking.

9.5 In certain circumstances, Airobnb may decide, in its sole discretion, that it is necessary to cancel a confirmed booki
and make appropriate refund and payout decisions. This may be for reasons set forth in Airobnb's Extenuating
Circumstances Policyor (i) where Airbnb believes in good faith, while taking the legitimate interests of both parties into
account, this is necessary to avoid significant harm to Airbnb, other Members, third parties or property, or (ii) for any o
reasons set out in these Terms.

9.6 If a Guest suffers a Travel Issue pursuant to the Guest Refund Policy, Airbnb may determine, in its sole discretion,
refund the Guest part or all of the Total Fees in accordance with the Guest Refund Policy.

9.7 Members may use the Resolution Center to send or request money for refunds, additional Host Services, Co-Host
Services or Damage Claims related to bookings. You agree to pay all amounts sent through the Resolution Center in
connection with your Airbnb Account, and Airbnb Payments will handle all such payments pursuant to the Payments
Terms.

10. Ratings and Reviews

10.1 Within a certain timeframe after completing a booking, Guests and Hosts can leave a public review (“Review”) ar
submit a star rating (“Rating”) about each other. Any Ratings or Reviews reflect the opinion of individual Members anc
not reflect the opinion of Airbnb. Ratings and Reviews are not verified by Aironb for accuracy and may be incorrect or
misleading.

10.2 Ratings and Reviews by Guests and Hosts must be fair, truthful and factual and may not contain any offensive or
defamatory language. Ratings and Reviews must comply with Aironb’s Content Policy and Extortion Policy.

10.3 Members are prohibited from manipulating the Ratings and Reviews system in any manner, such as instructing a
third party write a positive or negative Review about another Member.

11. Damage to Accommodations, Disputes between Members

11.1 As a Guest, you are responsible for leaving the Accommodation (including any personal or other property locatec
the Accommodation) in the condition it was in when you arrived. You are responsible for your own acts and omissions
are also responsible for the acts and omissions of any individuals whom you invite to, or otherwise provide access to,
Accommodation, excluding the Host (and the individuals the Host invites to the Accommodation, if applicable).

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11.2 lf a Host claims and provides evidence that you as a Guest have damaged an Accommodation or any personal o
other property at an Accommodation ("Damage Claim"), the Host can seek payment from you through the Resolution
Center. If a Host escalates a Damage Claim to Airbnb, you will be given an opportunity to respond. If you agree to pay
Host, or Airbnb determines in its sole discretion that you are responsible for the Damage Claim, Airobnb Payments will
collect any such sums from you and/or against the Security Deposit (if applicable) required to cover the Damage Clain
pursuant to the Payments Terms. Aironb also reserves the right to otherwise collect payment from you and pursue any
remedies available to Aironb in this regard in situations in which you are responsible for a Damage Claim, including, bt
not limited to, in relation to any payment requests made by Hosts under the Airbnb Host Guarantee.

11.3 Members agree to cooperate with and assist Aironb in good faith, and to provide Airbnb with such information ar
take such actions as may be reasonably requested by Airbnb, in connection with any Damage Claims or other compla
or claims made by Members relating to Accommodations or any personal or other property located at an Accommodz
(including, without limitation, payment requests made under the Airbnb Host Guarantee), Experiences, or Co-Host
agreements. A Member shall, upon Aironb's reasonable request and at no cost to the Member, participate in mediatio!
a similar resolution process with another Member, which process will be conducted by Airbnb or a third party selected
Airbnb or its insurer, with respect to losses for which a Member is requesting payment from Airbonb (including but not
limited to payments under the Airbnb Host Guarantee).

11.4 If you are a Guest or a Co-Host, you understand and agree that Airobnb may make a claim under your homeowne!
renter's or other insurance policy related to any damage or loss that you may have caused, or been responsible for, to
Accommodation or any personal or other property located at an Accommodation (including without limitation amounts
paid by Airbnb under the Airbnb Host Guarantee). You agree to cooperate with and assist Aironb in good faith, and to
provide Airbnb with such information as may be reasonably requested by Airbnb, to make a claim under your
homeowner's, renter's or other insurance policy, including, but not limited to, executing documents and taking such
further acts as Airbnb may reasonably request to assist Airobnb in accomplishing the foregoing.

12. Rounding off, Currency conversion

12.1 Aironb may, in its sole discretion, round up or round down amounts that are payable from or to Guests or Hosts t
the nearest whole functional base unit in which the currency is denominated (i.e. to the nearest dollar, euro or other
supported currency); for example, Airbnb will round up an amount of $101.50 to $102.00, and round down an amount
$101.49 to $101.00. For currencies that are denominated in large numbers, Airbnb may determine the functional base
in which those currencies are denominated to be 10, 100 or 1,000 of the currency; for example, Airobnb may round up :
amount of 1,045 up to 1,050 and 1,044 down to 1,040, or 837,500 up to 838,000 and 837,499 down to 837,000.

12.2 The Aironb Platform facilitates bookings between Guests and Hosts who may prefer to pay in a currency differen
from their destination currency, which may require currency conversions to accommodate these differing currency
preferences. Although the Aironb Platform allows Members to view the price of Listings in a number of currencies, the
currencies available for Members to make and receive payments may be limited, and may not include the default curre
in any given geographic location. Details regarding currency conversion, including any associated fees, are detailed in
the Payments Terms.

13. Taxes

13.1 As a Host you are solely responsible for determining your obligations to report, collect, remit or include in your Li:
Fees any applicable VAT or other indirect sales taxes, occupancy tax, tourist or other visitor taxes or income taxes
("Taxes").

13.2 Tax regulations may require us to collect appropriate Tax information from Hosts, or to withhold Taxes from payot
to Hosis, or both. If a Hosi fails to provide us with documentation that we determine to be sufficient to alleviate our
obligation (if any) to withhold Taxes from payouts to you, we reserve the right to freeze all payouts, withhold such amo
as required by law, or to do both, until resolution.

13.3 You understand that any appropriate governmental agency, department and/or authority ("Tax Authority") where
your Accommodation is located may require Taxes to be collected from Guests or Hosts on Listing Fees, and to be

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remitted to the respective Tax Authority. The laws in jurisdictions may vary, but these Taxes may be required to be
collected and remitted as a percentage of the Listing Fees set by Hosts, a set amount per day, or other variations, anc
sometimes called "transient occupancy taxes," "hotel taxes," "lodging taxes," "city taxes," "room taxes" or "tourist ta
("Occupancy Taxes").

13.4 In certain jurisdictions, Airbnb may decide in its sole discretion to facilitate collection and remittance of Occuparn
Taxes from or on behalf of Guests or Hosts, in accordance these Terms ("Collection and Remittance") if such jurisdic
asserts Airbnb or Hosts have an Occupancy Tax collection and remittance obligation. In any jurisdiction in which we
decide to facilitate direct Collection and Remittance, you hereby instruct and authorize Airbnb (via Airbnb Payments) t
collect Occupancy Taxes from Guests on the Hosi's behalf at the time Listing Fees are collected, and to remit such
Occupancy Taxes to the Tax Authority. The amount of Occupancy Taxes, if any, collected and remitted by Aironb will k
visible to and separately stated to both Guests and Hosts on their respective transaction documents. Where Airbnb is
facilitating Collection and Remittance, Hosts are not permitted to collect any Occupancy Taxes being collected by Airt
relating to their Accommodations in that jurisdiction.

13.5 You agree that any claim or cause of action relating to Airbnb's facilitation of Collection and Remittance of
Occupancy Taxes shall not extend to any supplier or vendor that may be used by Airbnb in connection with facilitatior
Collection and Remittance, if any. Guests and Hosts agree that we may seek additional amounts from you in the event
that the Taxes collected and/or remitted are insufficient to fully discharge your obligations to the Tax Authority, and ag!
that your sole remedy for Occupancy Taxes collected is a refund of Occupancy Taxes collected by Airbnb from the
applicable Tax Authority in accordance with applicable procedures set by that Tax Authority.

13.6 Aironb reserves the right, with prior notice to Hosts, to cease the Collection and Remittance in any jurisdiction fo!
reason at which point Hosts and Guests are once again solely responsible and liable for the collection and/or remittan
of any and all Occupancy Taxes that may apply to Accommodations in that jurisdiction.

14. Prohibited Activities

14.1 You are solely responsible for compliance with any and all laws, rules, regulations, and Tax obligations that may 2
to your use of the Aironb Platform. In connection with your use of the Airbnb Platform, you will not and will not assist ¢
enable others to:

e breach or circumvent any applicable laws or regulations, agreements with third-parties, third-party rights, or our
Terms, Policies or Standards;

e use the Airbnb Platform or Collective Content for any commercial or other purposes that are not expressly permitt
by these Terms or in a manner that falsely implies Aironb endorsement, partnership or otherwise misleads others é
your affiliation with Airbnb;

e copy, store or otherwise access or use any information, including personally identifiable information about any oth
Member, contained on the Airbnb Platform in any way that is inconsistent with Aironb’s Privacy Policy or these Ter
or that otherwise violates the privacy rights of Members or third parties;

e use the Airbnb Platform in connection with the distribution of unsolicited commercial messages ("spam");

e offer, as a Host, any Accommodation that you do not yourself own or have permission to make available as a
residential or other property through the Aironb Platform;

e unless Aironb explicitly permits otherwise, book any Listing if you will not actually be using the Host Services your

e contact another Member for any purpose other than asking a question related to a your own booking, Listing, or tl
Member's use of the Aironb Platform, including, but not limited to, recruiting or otherwise soliciting any Member tc
join third-party services, applications or websites, without our prior written approval;

e use the Airbnb Platform to request, make or accept a booking independent of the Airbnb Platform, to circumvent ¢
Service Fees or for any other reason;

e request, accept or make any payment for Listing Fees outside of the Airbnb Platform or Airobnb Payments. If you d
So, you acknowledge and agree that you: (i) would be in breach of these Terms; (ii) accept all risks and responsibil
for such payment, and (iii) hold Airbnb harmless from any liability for such payment;

e discriminate against or harass anyone on the basis of race, national origin, religion, gender, gender identity, physic
mental disability, medical condition, marital status, age or sexual orientation, or otherwise engage in any abusive c
disruptive behavior;

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e use, display, mirror or frame the Airbnb Platform or Collective Content, or any individual element within the Airbnb
Platform, Airbnb's name, any Airbnb trademark, logo or other proprietary information, or the layout and design of i
page or form contained on a page in the Airbnb Platform, without Airbnb's express written consent;

e dilute, tarnish or otherwise harm the Airbnb brand in any way, including through unauthorized use of Collective
Content, registering and/or using Airbnb or derivative terms in domain names, trade names, trademarks or other
source identifiers, or registering and/or using domains names, trade names, trademarks or other source identifiers
closely imitate or are confusingly similar to Airbnb domains, trademarks, taglines, promotional campaigns or
Collective Content;

e use any robots, spider, crawler, scraper or other automated means or processes to access, collect data or other
content from or otherwise interact with the Airbnb Platform for any purpose;

e avoid, bypass, remove, deactivate, impair, descramble, or otherwise attempt to circumvent any technological mea
implemented by Airbnb or any of Airbnb's providers or any other third party to protect the Airbonb Platform;

e attempt to decipher, decompile, disassemble or reverse engineer any of the software used to provide the Airbonb
Platform;

e take any action that damages or adversely affects, or could damage or adversely affect the performance or prope!
functioning of the Aironb Platform;

e export, re-export, import, or transfer the Application except as authorized by United States law, the export control
laws of your jurisdiction, and any other applicable laws; or

e violate or infringe anyone else’s rights or otherwise cause harm to anyone.

14.2 You acknowledge that Airbnb has no obligation to monitor the access to or use of the Aironb Platform by any
Member or to review, disable access to, or edit any Member Content, but has the right to do so to (i) operate, secure é
improve the Aironb Platform (including without limitation for fraud prevention, risk assessment, investigation and custc
support purposes); (ii) ensure Members’ compliance with these Terms; (iii) comply with applicable law or the order or
requirement of a court, law enforcement or other administrative agency or governmental body; (iv) respond to Membe!
Content that it determines is harmful or objectionable; or (v) as otherwise set forth in these Terms. Members agree to
cooperate with and assist Airbnb in good faith, and to provide Airbnb with such information and take such actions as |
be reasonably requested by Airbnb with respect to any investigation undertaken by Airbnb or a representative of Airbn
regarding the use or abuse of the Airbnb Platform.

14.3 If you feel that any Member you interact with, whether online or in person, is acting or has acted inappropriately,
including but not limited to anyone who (i) engages in offensive, violent or sexually inappropriate behavior, (ii) you sus¢
of stealing from you, or (iii) engages in any other disturbing conduct, you should immediately report such person to the
appropriate authorities and then to Airbnb by contacting us with your police station and report number (if available);
provided that your report will not obligate us to take any action beyond that required by law (if any) or cause us to inct
any liability to you.

15. Term and Termination, Suspension and other Measures

15.1 This Agreement shall be effective for a 30-day term, at the end of which it will automatically and continuously ren
for subsequent 30-day terms until such time when you or Airbnb terminate the Agreement in accordance with this
provision.

15.2 You may terminate this Agreement at any time via the "Cancel Account" feature on the Airbnb Platform or by seni
us an email. If you cancel your Airobnb Account as a Host, any confirmed booking(s) will be automatically cancelled ani
your Guests will receive a full refund. If you cancel your Aironb Account as a Guest, any confirmed booking(s) will be
automatically cancelled and any refund will depend upon the terms of the Listing’s cancellation policy.

15.3 Without limiting our rights specified below, Aironb may terminate this Agreement for convenience at any time by
giving you thirty (30) days' notice via email to your registered email address.

15.4 Aironb may immediately, without notice terminate this Agreement if (i) you have materially breached your obligatic
under these Terms, the Payments Terms, our Policies or Standards, (ii) you have violated applicable laws, regulations «
third party rights, or (iii) Aironb believes in good faith that such action is reasonably necessary to protect the personal

safety or property of Aironb, its Members, or third parties (for example in the case of fraudulent behavior of a Member

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15.5 In addition, Airbnb may take any of the following measures (i) to comply with applicable law, or the order or reque
of a court, law enforcement or other administrative agency or governmental body, or if (ii) you have breached these Te:
the Payments Terms, our Policies or Standards, applicable laws, regulations, or third party rights, (iii) you have provide
inaccurate, fraudulent, outdated or incomplete information during the Airbnb Account registration, Listing process or
thereafter, (iv) you and/or your Listings or Host Services at any time fail to meet any applicable quality or eligibility crite
(v) you have repeatedly received poor Ratings or Reviews or Airobnb otherwise becomes aware of or has received
complaints about your performance or conduct, (vi) you have repeatedly cancelled confirmed bookings or failed to
respond to booking requests without a valid reason, or (vii) Aironb believes in good faith that such action is reasonably
necessary to protect the personal safety or property of Airbnb, its Members, or third parties, or to prevent fraud or oth
illegal activity:

refuse to surface, delete or delay any Listings, Ratings, Reviews, or other Member Content;
cancel any pending or confirmed bookings;

limit your access to or use of the Aironb Platform;

temporarily or permanently revoke any special status associated with your Airbnb Account; or
temporarily or in case of severe or repeated offenses permanently suspend your Aironb Account.

In case of non-material breaches and where appropriate, you will be given notice of any intended measure by Airbnb é
an opportunity to resolve the issue to Aironb's reasonable satisfaction.

15.6 If we take any of the measures described above (i) we may refund your Guests in full for any and all confirmed
bookings that have been cancelled, irrespective of preexisting cancellation policies, and (ii) you will not be entitled to <
compensation for pending or confirmed bookings that were cancelled.

15.7 When this Agreement has been terminated, you are not entitled to a restoration of your Aironbo Account or any of
Member Content. If your access to or use of the Airbnb Platform has been limited or your Airobnb Account has been
suspended or this Agreement has been terminated by us, you may not register a new Airbnb Account or access and u
the Airbnb Platform through an Aironb Account of another Member.

15.8 Unless you reside in Germany, if you or we terminate this Agreement, the clauses of these Terms that reasonably
should survive termination of the Agreement will remain in effect.

16. Disclaimers

If you choose to use the Airbnb Platform or Collective Content, you do so voluntarily and at your sole risk. The
Airbnb Platform and Collective Content is provided “as is”, without warranty of any kind, either express or impl

You agree that you have had whatever opportunity you deem necessary to investigate the Airbnb Services, law
rules, or regulations that may be applicable to your Listings and/or Host Services you are receiving and that yo
are not relying upon any statement of law or fact made by Airbnb relating to a Listing.

If we choose to conduct identity verification or background checks on any Member, to the extent permitted by
applicable law, we disclaim warranties of any kind, either express or implied, that such checks will identify pric
misconduct by a Member or guarantee that a Member will not engage in misconduct in the future.

You agree that some Experiences, Events or other Host Services may carry inherent risk, and by participating i
those Host Services, you choose to assume those risks voluntarily. For example, some Host Services may carr
risk of illness, bodily injury, disability, or death, and you freely and willfully assume those risks by choosing to
participate in those Host Services. You assume full responsibility for the choices you make before, during and :
your participation in a Host Service. If you are bringing a minor as an additional guest, you are solely responsib
for the supervision of that minor throughout the duration of your Host Service and to the maximum extent
permitted by law, you agree to release and hold harmless Airbnb from all liabilities and claims that arise in any
from any injury, death, loss or harm that occurs to that minor during the Host Service or in any way related to y
Host Service.

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The foregoing disclaimers apply to the maximum extent permitted by law. You may have other statutory rights.
However, the duration of statutorily required warranties, if any, shall be limited to the maximum extent permitte
by law.

17. Liability

17.1 Unless you reside in the EU, you acknowledge and agree that, to the maximum extent permitted by law, th
entire risk arising out of your access to and use of the Airbnb Platform and Collective Content, your publishing
booking of any Listing via the Airbnb Platform, your stay at any Accommodation, participation in any Experienc
Event or use of any other Host Service or any other interaction you have with other Members whether in perso|
online remains with you. Neither Airbnb nor any other party involved in creating, producing, or delivering the
Airbnb Platform or Collective Content will be liable for any incidental, special, exemplary or consequential
damages, including lost profits, loss of data or loss of goodwill, service interruption, computer damage or syst
failure or the cost of substitute products or services, or for any damages for personal or bodily injury or emotic
distress arising out of or in connection with (i) these Terms, (ii) from the use of or inability to use the Airbnb
Platform or Collective Content, (iii) from any communications, interactions or meetings with other Members or
other persons with whom you communicate, interact or meet with as a result of your use of the Airbnb Plaitforr
or (iv) from your publishing or booking of a Listing, including the provision or use of a Listing’s Host Services,
whether based on warranty, contract, tort (including negligence), product liability or any other legal theory, and
whether or not Airbnb has been informed of the possibility of such damage, even if a limited remedy set forth
herein is found to have failed of its essential purpose. Except for our obligations to pay amounts to applicable
Hosts pursuant to these Terms or an approved payment request under the Airbnb Host Guarantee, in no event
Airbnb’s aggregate liability arising out of or in connection with these Terms and your use of the Airbnb Platforn
including, but not limited to, from your publishing or booking of any Listings via the Airbnb Platform, or from th
use of or inability to use the Airbnb Platform or Collective Content and in connection with any Accommodation
Experiences, Event or other Host Service, or interactions with any other Members, exceed the amounts you ha
paid or owe for bookings via the Airbnb Platform as a Guest in the twelve (12) month period prior to the event
giving rise to the liability, or if you are a Host, the amounts paid by Airbnb to you in the twelve (12) month periov
prior to the event giving rise to the liability, or one hundred U.S. dollars (US$100), if no such payments have bee
made, as applicable. The limitations of damages set forth above are fundamental elements of the basis of the
bargain between Airbnb and you. Some jurisdictions do not allow the exclusion or limitation of liability for
consequential or incidental damages, so the above limitation may not apply to you. If you reside outside of the
U.S., this does not affect Airbnb’s liability for death or personal injury arising from its negligence, nor for fraudt
misrepresentation, misrepresentation as to a fundamental matter or any other liability which cannot be exclude
or limited under applicable law.

17.2 If you reside in the EU, Airbnb is liable under statutory provisions for intent and gross negligence by us, ou
legal representatives, directors, or other vicarious agents. The same applies to the assumption of guarantees c
any other strict liability, or in case of a culpable injury to life, limb, or health. Airbnb is liable for any negligent
breaches of essential contractual obligations by us, our legal representatives, directors, or other vicarious age
Essential contractual obligations are such duties of Airbnb in whose proper fulfilment you regularly trust and rr
trust for the proper execution of the contract but the amount shall be limited to the typically occurring foresee:
damage. Any additional liability of Airbnb is excluded.

18. Indemnification

You agree to release, defend (at Aironb’s option), indemnify, and hold Airbnb and its affiliates and subsidiaries, and the
officers, directors, employees and agenis, harmless from and against any claims, liabilities, damages, losses, and
expenses, including, without limitation, reasonable legal and accounting fees, arising out of or in any way connected v
(i) your breach of these Terms or our Policies or Standards, (ii) your improper use of the Aironb Platform or any Aironb
Services, (iii) your interaction with any Member, stay at an Accommodation, participation in an Experience, Event or ot
Host Service, including without limitation any injuries, losses or damages (whether compensatory, direct, incidental,
consequential or otherwise) of any kind arising in connection with or as a result of such interaction, stay, participation

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use, (iv) Aironb’s Collection and Remittance of Occupancy Taxes, or (v) your breach of any laws, regulations or third pz
rights.

19. Dispute Resolution and Arbitration Agreement

19.1 This Dispute Resolution and Arbitration Agreement shall apply if you (i) reside in the United States; or (ii) do not re
in the United States, but bring any claim against Airbnb in the United States (to the extent not in conflict with Section :

19.2 Overview of Dispute Resolution Process. Aironb is committed to participating in a consumer-friendly dispute
resolution process. To that end, these Terms provide for a two-part process for individuals to whom Section 19.1 appli
(1) an informal negotiation directly with Airbnb’s customer service team, and (2) a binding arbitration administered by t
American Arbitration Association (“AAA”) using its specially designed Consumer Arbitration Rules (as modified by this
Section 19). Specifically, the process provides:

e Claims can be filed with AAA online (www.adr.org);

Arbitrators must be neutral and no party may unilaterally select an arbitrator;

Arbitrators must disclose any bias, interest in the result of the arbitration, or relationship with any party;

Parties retain the right to seek relief in small claims court for certain claims, at their option;

The initial filing fee for the consumer is capped at $200;

The consumer gets to elect the hearing location and can elect to participate live, by phone, video conference, or, f

claims under $25,000, by the submission of documents;

e The arbitrator can grant any remedy that the parties could have received in court to resolve the party’s individual
claim.

19.3 Pre-Arbitration Dispute Resolution and Notification. Prior to initiating an arbitration, you and Airbnb each agree to
notify the other party of the dispute and attempt to negotiate an informal resolution to it first. We will contact you at thi
email address you have provided to us; you can contact Aironb’s customer service team by emailing us. If after a goor
faith effort to negotiate one of us feels the dispute has not and cannot be resolved informally, the party intending to pt
arbitration agrees to notify the other party via email prior to initiating the arbitration. In order to initiate arbitration, a cla
must be filed with the AAA and the written Demand for Arbitration (available at www.adr.org) provided to the other pari
as specified in the AAA Rules.

19.4 Agreement to Arbitrate. You and Airbnb mutually agree that any dispute, claim or controversy arising out ¢
relating to these Terms or the breach, termination, enforcement or interpretation thereof, or to the use of the
Airbnb Platform, the Host Services, or the Collective Content (collectively, ‘Disputes”) will be settled by binding
arbitration (the “Arbitration Agreement”). If there is a dispute about whether this Arbitration Agreement can be
enforced or applies to our Dispute, you and Airbnb agree that the arbitrator will decide that issue.

19.5 Exceptions to Arbitration Agreement. You and Airbnb each agree that the following claims are exceptions to the
Arbitration Agreement and will be brought in a judicial proceeding in a court of competent jurisdiction: (i) Any claim reli
to actual or threatened infringement, misappropriation or violation of a party’s copyrights, trademarks, trade secrets,
patents, or other intellectual property rights; (ii) Any claim seeking emergency injunctive relief based on exigent
circumstances (e.g., imminent danger or commission of a crime, hacking, cyber-attack).

19.6 Arbitration Rules and Governing Law. This Arbitration Agreement evidences a transaction in interstate commerce
thus the Federal Arbitration Act governs the interpretation and enforcement of this provision. The arbitration will be
administered by AAA in accordance with the Consumer Arbitration Rules (the “AAA Rules“) then in effect, except as
modified here. The AAA Rules are available at www.adr.org or by calling the AAA at 1-800-778-7879.

19.7 Modification to AAA Rules - Arbitration Hearing/Location. |n order to make the arbitration most convenient to you
Aironb agrees that any required arbitration hearing may be conducted, at your option, (a) in the county where you resic
(b) in San Francisco County; (c) in any other location to which you and Aironb both agree; (d) via phone or video

conference; or (e) for any claim or counterclaim under $25,000, by solely the submission of documents to the arbitrato

19.8 Modification of AAA Rules - Aitorney’s Fees and Costs. You may be entitled to seek an award of attorney fees an
expenses if you prevail in arbitration, to the extent provided under applicable law and the AAA rules. Unless the arbitré

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determines that your claim was frivolous or filed for the purpose of harassment, Airbnb agrees it will not seek, and her
waives all rights it may have under applicable law or the AAA rules, to recover attorneys’ fees and expenses if it prevai
arbitration.

19.9 Arbitrator’s Decision. The arbitrator’s decision will include the essential findings and conclusions upon which the
arbitrator based the award. Judgment on the arbitration award may be entered in any court with proper jurisdiction. Tt
arbitrator may award declaratory or injunctive relief only on an individual basis and only to the extent necessary to pro
relief warranted by the claimant’s individual claim.

19.10 Jury Trial Waiver. You and Aironb acknowledge and agree that we are each waiving the right to a trial by |
as to all arbitrable Disputes.

19.11 No Class Actions or Representative Proceedings. You and Airbnb acknowledge and agree that we are ea
waiving the right to participate as a plaintiff or class member in any purported class action lawsuit, class-wide
arbitration, private attorney-general action, or any other representative proceeding as to all Disputes. Further,
unless you and Airbnb both otherwise agree in writing, the arbitrator may not consolidate more than one party’
claims and may not otherwise preside over any form of any class or representative proceeding. If this paragrar
held unenforceable with respect to any Dispute, then the entirety of the Arbitration Agreement will be deemed '
with respect to such Dispute.

19.12 Severability. Except as provided in Section 19.11, in the event that any portion of this Arbitration Agreement is
deemed illegal or unenforceable, such provision shall be severed and the remainder of the Arbitration Agreement shall
given full force and effect.

19.13 Changes. Notwithstanding the provisions of Section 3 (“Modification of these Terms”), if Airobnb changes this
Section 19 (“Dispute Resolution and Arbitration Agreement”) after the date you last accepted these Terms (or accepte:
any subsequent changes to these Terms), you may reject any such change by sending us written notice (including by
email) within thirty (30) days of the date such change became effective, as indicated in the “Last Updated” date above
in the date of Aironb’s email to you notifying you of such change. By rejecting any change, you are agreeing that you v
arbitrate any Dispute between you and Airbnb in accordance with the provisions of the “Dispute Resolution and
Arbitration Agreement” section as of the date you last accepted these Terms (or accepted any subsequent changes to
these Terms).

19.14 Survival. Except as provided in Section 19.12 and subject to Section 15.8, this Section 19 will survive any
termination of these Terms and will continue to apply even if you stop using the Airbnb Platform or terminate your Airb
Account.

20. Feedback

We welcome and encourage you to provide feedback, comments and suggestions for improvements to the Airobnb
Platform (“Feedback"“). You may submit Feedback by emailing us, through the “Contact” section of the Airbnb Platfor
or by other means of communication. Any Feedback you submit to us will be considered non-confidential and non-
proprietary to you. By submitting Feedback to us, you grant us a non-exclusive, worldwide, royalty-free, irrevocable, s
licensable, perpetual license to use and publish those ideas and materials for any purpose, without compensation to y

21. Applicable Law and Jurisdiction

21.1 If you reside in the United States, these Terms will be interpreted in accordance with the laws of the State of
California and the United States of America, without regard to conflict-of-law provisions. Judicial proceedings (other tt
small claims actions) that are excluded from the Arbitration Agreement in Section 19 must be brought in state or feder
court in San Francisco, California, unless we both agree to some other location. You and we both consent to venue ar
personal jurisdiction in San Francisco, California.

21.2 If you reside in China these Terms will be interpreted in accordance with the laws of China (“China Laws”). Any
dispute arising from or in connection with this Agreement shall be submitted to the China International Economic and

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Trade Arbitration Commission (CIETAC) for arbitration in Beijing which shall be conducted in accordance with CIETAC’
arbitration rules in effect at the time of applying for arbitration, provided that this section shall not be construed to limi:
any rights which Airbnb may have to apply to any court of competent jurisdiction for an order requiring you to perform
be prohibited from performing certain acts and other provisional relief permitted under China Laws or any other laws t!
may apply to you. The arbitration proceedings shall be conducted in English. The arbitral award rendered is final and
binding upon both parties.

21.3 If you reside outside of the United States and China, these Terms will be interpreted in accordance with Irish law.
application of the United Nations Convention on Contracts for the International Sale of Goods (CISG) is excluded. The
choice of law does not impact your rights as a consumer according to the consumer protection regulations of your
country of residence. If you are acting as a consumer, you agree to submit to the non-exclusive jurisdiction of the Irish
courts. Judicial proceedings that you are able to bring against us arising from or in connection with these Terms may ¢
be brought in a court located in Ireland or a court with jurisdiction in your place of residence. If Airbnbd wishes to enfor
any of its rights against you as a consumer, we may do so only in the courts of the jurisdiction in which you are a resid
If you are acting as a business, you agree to submit to the exclusive jurisdiction of the Irish courts.

22. General Provisions

22.1 Except as they may be supplemented by additional terms and conditions, policies, guidelines or standards, these
Terms constitute the entire Agreement between Airbnb and you pertaining to the subject matter hereof, and supersede
any and all prior oral or written understandings or agreements between Aironb and you in relation to the access to anc
use of the Aironb Platform.

22.2 No joint venture, partnership, employment, or agency relationship exists between you and Airbnb as a result of tr
Agreement or your use of the Aironb Platform.

22.3 These Terms do not and are not intended to confer any rights or remedies upon any person other than the parties

22.4 If any provision of these Terms is held to be invalid or unenforceable, such provision will be struck and will not aff
the validity and enforceability of the remaining provisions.

22.5 Aironb’s failure to enforce any right or provision in these Terms will not constitute a waiver of such right or provisi:
unless acknowledged and agreed to by us in writing. Except as expressly set forth in these Terms, the exercise by eitr
party of any of its remedies under these Terms will be without prejudice to its other remedies under these Terms or
otherwise permitted under law.

22.6 You may not assign, transfer or delegate this Agreement and your rights and obligations hereunder without Airbn|
prior written consent. Airbnb may without restriction assign, transfer or delegate this Agreement and any rights and
obligations hereunder, at its sole discretion, with 30 days prior notice. Your right to terminate this Agreement at any tin
remains unaffected.

22.7 Unless specified otherwise, any notices or other communications to Members permitted or required under this
Agreement, will be in writing and given by Aironb via email, Aironb Platform notification, or messaging service (includir
SMS and WeChai). For notices made to Members residing outside of Germany, the date of receipt will be deemed the
date on which Airbnb transmits the notice.

22.8 If you reside in the EU you can access the European Commission’s online dispute resolution platform
here: hitp://ec.europa.eu/consumers/odr. Please note that Aironb Ireland is not committed nor obliged to use an
alternative dispute resolution entity to resolve disputes with consumers.

22.9 If you have any questions about these Terms please email us.

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